USCA Case #24-1361    Document #2091447         Filed: 12/26/2024   Page 1 of 80



           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


  American Electric Power Service
  Corporation, American Transmission
  Systems Incorporated, Dayton Power and
  Light Company, Duke Energy Business
  Services LLC, Duke Energy Kentucky, Inc.,
  Duke Energy Ohio, Inc., Jersey Central
  Power & Light Company, Keystone
  Appalachian Transmission Company, Mid-
  Atlantic Interstate Transmission LLC,
  Monongahela Power Company, PPL
  Electric Utilities Corporation, The Potomac
  Edison Company, Trans-Allegheny
  Interstate Line Company, and Virginia            No. 24-1361
  Electric and Power Company d/b/a
  Dominion Energy Virginia,

            Petitioners,

      v.

 Federal Energy Regulatory
 Commission,

            Respondent.



 UNDERLYING DECISIONS FROM WHICH PETITION ARISES

     In accordance with this Court’s procedural order dated November

26, 2024, Petitioners, as listed in the caption, respectfully seek review of

the following Orders of the Federal Energy Regulatory Commission:
USCA Case #24-1361   Document #2091447     Filed: 12/26/2024   Page 2 of 80



        1) American Municipal Power, Inc., et al. v. PJM
           Interconnection, L.L.C., Order on Complaint and Section 206
           Filing, and Establishing Paper Hearing Procedures, Docket
           Nos. EL22-80-000, et al., 188 FERC ¶ 61,055 (July 25, 2024)
           (July 2024 Order); and

        2) American Municipal Power, Inc., et al. v. PJM
           Interconnection, L.L.C., Notice of Denial of Rehearing by
           Operation of Law and Providing for Further Consideration,
           Docket Nos. EL22-80-001, et al., 188 FERC ¶ 62,155 (Sept.
           26, 2024) (September 2024 Denial Notice).

FERC’s Orders are attached as Exhibits A and B, respectively.




                                   2
USCA Case #24-1361   Document #2091447        Filed: 12/26/2024   Page 3 of 80



                                       Respectfully submitted,

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                                       Attorneys for the FirstEnergy
                                       Transmission Companies1




1 Petitioners American Transmission Systems, Incorporated, Jersey

Central Power & Light Company, Keystone Appalachian Transmission
Company, Mid-Atlantic Interstate Transmission LLC, Monongahela
Power Company, The Potomac Edison Company, and Trans-Allegheny
Interstate Line Company are collectively the “FirstEnergy
Transmission Companies.”

                                   3
USCA Case #24-1361   Document #2091447         Filed: 12/26/2024   Page 4 of 80



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Dated: December 26, 2024

2 Petitioners Duke Energy Business Services LLC (“DEBS”), Duke

Energy Kentucky, Inc. (“DEK”), and Duke Energy Ohio, Inc. (“DEO”)
are collectively “Duke Energy.”

                                   4
USCA Case #24-1361   Document #2091447      Filed: 12/26/2024   Page 5 of 80



                     CERTIFICATE OF SERVICE


     I hereby certify that on December 26, 2024, I caused a true and

correct copy of the foregoing Underlying Decisions from Which Petition

Arises to be served on all parties via the Court’s CM/ECF system.



                                    Respectfully submitted,

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USCA Case #24-1361   Document #2091447   Filed: 12/26/2024   Page 6 of 80




                             EXHIBIT A
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447           Filed: 12/26/2024   Page 7 of 80



                                         188 FERC ¶ 61,055
                                    UNITED STATES OF AMERICA
                             FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Chairman;
                               Mark C. Christie, and David Rosner.

         American Municipal Power, Inc., Office of the People’s     Docket Nos. EL22-80-000
         Counsel for the District of Columbia, and the PJM
         Industrial Customer Coalition

                        v.

         PJM Interconnection, L.L.C.;                                           EL22-85-000

         PJM Interconnection, L.L.C.

            ORDER ON COMPLAINT AND SECTION 206 FILING, AND ESTABLISHING
                           PAPER HEARING PROCEDURES

                                           (Issued July 25, 2024)

                On July 26, 2022, in Docket No. EL22-80-000, American Municipal Power, Inc.,
         the Office of the People’s Counsel for the District of Columbia, and the PJM Industrial
         Customer Coalition (Complainants), pursuant to sections 206, 306, and 309 of the
         Federal Power Act (FPA),1 filed a complaint against PJM Interconnection, L.L.C. (PJM)
         regarding PJM’s implementation of its Regional Transmission Expansion Plan (RTEP)
         process and associated requirements (Complaint). Specifically, Complainants allege that
         PJM has failed to execute Designated Entity Agreements with each entity designated to
         construct a transmission project that PJM has selected as the more efficient or
         cost-effective transmission project in its RTEP (Designated Entity),2 in all instances
         required by Schedule 6 of the Amended and Restated Operating Agreement of PJM
         Interconnection, L.L.C. (Operating Agreement), regardless of whether that transmission

               1
                   16 U.S.C. §§ 824e, 825e, 825h.
               2
                  “Designated Entity” shall mean an entity, including an existing Transmission
         Owner or Nonincumbent Developer, designated by the Office of the Interconnection with
         the responsibility to construct, own, operate, maintain, and finance Immediate-need
         Reliability Projects, Short-term Projects, Long-lead Projects, or Economic-based
         Enhancements or Expansions pursuant to Operating Agreement, Schedule 6,
         section 1.5.8. See PJM, Intra-PJM Tariffs, OA, Definitions, OA Definitions C - D
         (28.2.0).
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447            Filed: 12/26/2024     Page 8 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                  -2-

         project is selected in the RTEP for purposes of cost allocation.3 On August 26, 2022, in
         Docket No. EL22-85-000, pursuant to sections 206, 306, and 309 of the FPA and
         Rule 206 of the Commission’s Rules of Practice and Procedure,4 PJM filed a request
         asking the Commission to revise Schedule 6, section 1.5.8 of the Operating Agreement,
         which governs PJM’s RTEP process and associated requirements for Designated Entity
         Agreements (PJM 206 Filing). Both the Complaint and the PJM 206 Filing raise issues
         regarding the interpretation of Schedule 6, section 1.5.8, that section’s usage of the term
         “Designated Entity,” and PJM’s implementation of these provisions.

                As described below, we grant the Complaint, in part, and deny the Complaint, in
         part. We also grant the PJM 206 Filing, in part, and deny the PJM 206 Filing, in part.
         Additionally, we direct PJM to submit a compliance filing within 30 days of the date of
         issuance of this order. Finally, we establish paper hearing procedures to develop a further
         record that we will use to determine PJM’s going-forward responsibilities regarding
         Designated Entity Agreement requirements for certain in progress RTEP projects.

         I.     Background

                 In Order No. 1000, the Commission adopted a transmission planning framework
         that required public utility transmission providers to develop criteria and protocols to
         govern the submission and evaluation of proposals for transmission facilities to be
         evaluated in the regional transmission planning process.5 The Commission stated that
         “[t]o meet such requirements more efficiently and cost-effectively, the regional
         transmission plan must reflect a fair consideration of transmission facilities proposed by
         nonincumbents.”6 The Commission clarified that “selected in a regional transmission
         plan for purposes of cost allocation” excludes a new transmission facility if the costs of
         that facility are borne entirely by the public utility transmission provider in whose retail
         distribution service territory or footprint that new transmission facility is to be located,




                3
                    This order refers collectively to these transmission projects as “RTEP projects.”
                4
                    18 C.F.R. § 385.206 (2023).
                5
                 Transmission Planning & Cost Allocation by Transmission Owning & Operating
         Pub. Utils., Order No. 1000, 136 FERC ¶ 61,051, at P 225 (2011), order on reh’g, Order
         No. 1000-A, 139 FERC ¶ 61,132, order on reh’g and clarification, Order No. 1000-B,
         141 FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41
         (D.C. Cir. 2014).
                6
                    Order No. 1000, 136 FERC ¶ 61,051 at P 11.
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447              Filed: 12/26/2024      Page 9 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                    -3-

         therefore, the competitive transmission development requirements of Order No. 1000 do
         not apply to such a facility.7

                A.       PJM’s Competitive Proposal Window Process under Schedule 6,
                         Section 1.5.8

                To comply with Order No. 1000’s regional transmission planning and cost
         allocation requirements, in 2013, PJM proposed revisions to its RTEP process.
         Specifically, PJM proposed including a competitive proposal window process under
         Schedule 6, section 1.5.88 through which an entity who is pre-qualified as eligible to be a
         Designated Entity (either an incumbent transmission owner or nonincumbent
         transmission developer9) may submit a project proposal and may notify PJM if it desires
         to be designated rights to the transmission project if the transmission project is selected
         for inclusion in the RTEP.10 PJM relies on this competitive proposal window process to
         evaluate and select the more efficient or cost-effective transmission project in its regional
         transmission plan for purposes of cost allocation,11 and then identifies the Designated
         Entity that will construct, own, operate, maintain, and finance the selected transmission




                7
                    Order No. 1000-A, 139 FERC 61,132 at P 423.
                8
                   PJM, Intra-PJM Tariffs, OA Schedule 6 Sec 1.5, OA Schedule 6 Sec 1.5
         Procedure for Development of the Regi (28.0.0), § 1.5.8,
         https://etariff.ferc.gov/TariffSectionDetails.aspx?tid=1731&sid=300495 (referred to
         throughout as OA Schedule 6 Sec. 1.5).
                9
                  Order No. 1000 defined a nonincumbent transmission developer as either: (1) a
         transmission developer that does not have a retail distribution service territory or
         footprint; or (2) a public utility transmission provider that proposes a transmission project
         outside of its retail distribution service territory or footprint, where it is not the incumbent
         transmission owner for the purposes of that project. Order No. 1000, 136 FERC ¶ 61,051
         at P 225.
                10
                  See PJM Interconnection, L.L.C., 142 FERC ¶ 61,214, at P 194 (2013) (PJM
         First Compliance Order), order on reh’g and compliance, 147 FERC ¶ 61,128 (2014)
         (PJM Second Compliance Order), order on reh’g and compliance, 150 FERC ¶ 61,038
         (PJM Third Compliance Order), and order on reh’g and compliance, 151 FERC ¶ 61,250
         (2015) (PJM Fourth Compliance Order).
                11
                     See PJM First Compliance Order, 147 FERC ¶ 61,128 at P 236.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447          Filed: 12/26/2024    Page 10 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             -4-

         project.12 The Commission found that PJM’s revised RTEP process complies with Order
         No. 1000.13

                        1.     PJM-Chosen Sponsored and PJM-Chosen Unsponsored Projects

                As relevant here, through its RTEP process, PJM identifies regional transmission
         needs and opens competitive proposal windows to solicit project proposals that address
         those needs. PJM describes three time-based categories of transmission projects14 to
         address identified reliability transmission needs:15 Long-lead Projects,16 Short-term




               12
                  See PJM Interconnection, L.L.C., 164 FERC ¶ 61,021, at P 3 (2018) (2018 DEA
         Order), order on reh’g and compliance, 168 FERC ¶ 61,121 (2019) (2019 DEA
         Rehearing Order).
               13
                    See supra note 10.
               14
                  Schedule 6, section 1.5.8 of the Operating Agreement refers interchangeably to
         the projects proposed to address identified transmission needs in the PJM RTEP process
         as “projects” and “solutions”. For consistency, this order refers to these projects as
         “transmission projects.”
               15
                  See, e.g., PJM Interconnection, L.L.C., 142 FERC ¶ 61,214 at P 194. One
         additional category of transmission project is Economic-based Enhancements or
         Expansions, which address identified economic transmission needs via the competitive
         proposal window process.
               16
                   “Long-lead Project” shall mean a transmission enhancement or expansion with
         an in-service date more than five years from the year in which, pursuant to Operating
         Agreement, Schedule 6, section 1.5.8(c), the Office of the Interconnection posts the
         violations, system conditions, or Public Policy Requirements to be addressed by the
         enhancement or expansion. See PJM, Intra-PJM Tariffs, OA, Definitions I-L, OA
         Definitions I – L (20.0.0); see also PJM, Intra-PJM Tariffs, OA Schedule 6 Sec 1.5
         (28.0.0), § 1.5.8(c) (Project Proposal Windows).
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024     Page 11 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 -5-

         Projects,17 and Immediate-need Reliability Projects.18 PJM opens competitive proposal
         windows to address immediate reliability needs only when it is feasible to do so.19 PJM’s
         RTEP process has two additional categories of specific reliability violations for which
         PJM may, under certain circumstances, open a competitive proposal window: Reliability
         Violations on Transmission Facilities Below 200 kV20 and Thermal Reliability Violations
         on Transmission Substation Equipment.21



                17
                   “Short-term Project” shall mean a transmission enhancement or expansion with
         an in-service date of more than three years but no more than five years from the year in
         which, pursuant to Operating Agreement, Schedule 6, section 1.5.8(c), the Office of the
         Interconnection posts the violations, system conditions, or Public Policy Requirements to
         be addressed by the enhancement or expansion. See PJM, Intra-PJM Tariffs, OA, S–T,
         OA Definitions S – T (22.0.0); see also PJM, Intra-PJM Tariffs, OA Schedule 6 Sec 1.5
         (28.0.0), § 1.5.8(c) (Project Proposal Windows).
                18
                  “Immediate-need Reliability Project” shall mean a reliability-based transmission
         enhancement or expansion that the Office of the Interconnection has identified to resolve
         a need that must be addressed within three years or less from the year the Office of the
         Interconnection identified the existing or projected limitations on the Transmission
         System that gave rise to the need for such enhancement or expansion pursuant to the
         study process described in Operating Agreement, Schedule 6, section 1.5.3. See PJM,
         Intra-PJM Tariffs, OA, Definitions I-L, OA Definitions I – L (20.0.0); see also PJM,
         Intra-PJM Tariffs, OA, Schedule 6 Sec. 1.5 (28.0.0), § 1.5.8(c) (Project Proposal
         Windows).
                19
                 See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec. 1.5 (28.0.0), § 1.5.8 (m)(2)
         (Immediate-need Reliability Projects).
                20
                    See PJM Interconnection, L.L.C., 156 FERC ¶ 61,132 at P 18 (2016) (“PJM
         states it intends that the process for planning transmission projects to address reliability
         violations on transmission facilities operating below 200 kV will interact with Schedule 6
         of PJM’s Operating Agreement the same as the process for planning Immediate-need
         Reliability Projects does.”); see also PJM, Intra-PJM Tariffs, OA Schedule 6 Sec 1.5,
         (28.0.0), § 1.5.8(n) (Reliability Violations on Transmission Facilities Below 200 kV).
                21
                   See PJM Interconnection, L.L.C., Deficiency Response, Docket
         No. ER16-1719-001, at 4 (filed Aug. 14, 2017) at 4 (stating that its proposal for Thermal
         Reliability Violations on Transmission Substation Equipment is modeled after the
         processes for Immediate-need Reliability Projects and the Reliability Violations on
         Transmission Facilities Below 200 kV, which were previously accepted by the
         Commission); see also PJM Interconnection, L.L.C., Docket No. ER17-1619 (Oct. 11,
         2017) (unpublished letter order); PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447              Filed: 12/26/2024      Page 12 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                  -6-

                Once a competitive proposal window has closed, PJM analyzes the submitted
         transmission projects and then selects the more efficient or cost-effective transmission
         solution in its regional transmission plan for purposes of cost allocation.22 In this order,
         we refer to these projects as “PJM-chosen sponsored projects.”

                As noted above, under Schedule 6, section 1.5.8, there are certain circumstances in
         which PJM does not open a competitive proposal window. Instead, PJM itself identifies
         the more efficient or cost-effective transmission project to resolve an identified
         transmission need and selects that transmission project in the regional transmission plan
         for purposes of cost allocation.23 Specifically, these circumstances include: (1) when
         PJM determines that none of the transmission projects proposed in a previous, closed
         competitive proposal window would be the more efficient or cost-effective transmission
         solution to resolve the transmission need;24 (2) when PJM determines that it is not
         feasible to open a competitive proposal window for an Immediate-need Reliability
         Project;25 and (3) for projects that do not require PJM to open a competitive proposal
         window for certain Reliability Violations on Transmission Facilities Below 200 kV or for
         certain Thermal Reliability Violations on Transmission Substation Equipment.26 In each
         of these circumstances, PJM is required to designate the incumbent transmission owner
         as the entity to construct, own, operate, maintain, and finance transmission projects



         (28.0.0), § 1.5.8(p) (Thermal Reliability Violations on Transmission Substation
         Equipment).
                22
                   See PJM Interconnection, L.L.C., Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5
         (28.0.0), § 1.5.8(a)-(e); see also id. § 1.5.8(m)(2).
                23
                  See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5. (28.0.0), §§ 1.5.8(g)-(h),
         (m)(1), (n), (p).
                24
                   See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(g)
         (Procedures if No Long-lead Project or Economic-based Enhancement or Expansion
         Proposal is Determined to be the More Efficient or Cost-Effective Solution); id.
         § 1.5.8(h) (Procedures if No Short-term Project Proposal is Determined to be the More
         Efficient or Cost-Effective Solution).
                25
                 See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8 (m)(1)
         (Immediate-need Reliability Projects).
                26
                   See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), §§ 1.5.8(n)
         (Reliability Violations on Transmission Facilities Below 200 kV) and (p) (Thermal
         Reliability Violations on Transmission Substation Equipment).
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447            Filed: 12/26/2024     Page 13 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               -7-

         chosen by PJM for inclusion in the regional transmission plan. In this order, we refer to
         these projects as “PJM-chosen unsponsored projects.”

                        2.    Cost Allocation

                 For all PJM-chosen sponsored projects and PJM-chosen unsponsored projects that
         PJM identifies as the more efficient or cost-effective transmission projects to resolve
         identified transmission needs, PJM recommends those projects to the PJM Board of
         Managers (PJM Board) for approval and selection in the RTEP for purposes of cost
         allocation. In its recommendation to the PJM Board, PJM includes the ex ante regional
         cost allocation methods that would apply to each respective project if the PJM Board
         approves PJM’s recommendations.27 PJM’s regional cost allocation methods are detailed
         in Schedule 12 of the PJM OATT.28

                        3.    “Designated Entity” Designations

                For each PJM-chosen unsponsored project and PJM-chosen sponsored project,
         PJM also identifies, for the PJM Board’s approval, a Designated Entity that is responsible
         for constructing, owning, operating, maintaining, and financing the project. Throughout
         PJM’s governing documents, the term Designated Entity applies to both incumbent
         transmission owners and nonincumbent transmission developers alike.29 Under
         Schedule 6, section 1.5.8, PJM identifies the incumbent transmission owner in whose

               27
                   PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.6 (4.0.0), § 1.6(a) (Approval of
         the Final Regional Transmission Expansion Plan) (“Based on the studies and analyses
         performed by the Office of the Interconnection under Operating Agreement, Schedule 6,
         the PJM Board shall approve the Regional Transmission Expansion Plan in accordance
         with the requirements of Operating Agreement, Schedule 6. The PJM Board shall
         approve the cost allocations for transmission enhancements and expansions consistent
         with Tariff, Schedule 12. Supplemental Projects shall be integrated into the Regional
         Transmission Expansion Plan approved by the PJM Board but shall not be included for
         cost allocation purposes.”).
               28
                    See PJM, Intra-PJM Tariffs, OATT, Schedule 12 (15.0.0)
               29
                   See, e.g., PJM, Intra-PJM Tariffs, OA, Definitions (C - D), OA
         Definitions C – D (32.0.0) (“‘Designated Entity’ shall mean an entity, including an
         existing Transmission Owner or Nonincumbent Developer . . .” (emphasis added)); PJM,
         Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j) (Acceptance of
         Designation) (“Within 30 days of receiving notification of its designation as a Designated
         Entity, the existing Transmission Owner or Nonincumbent Developer shall notify the
         Office of the Interconnection of its acceptance of such designation . . .” (emphasis
         added)).
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024      Page 14 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 -8-

         zone the project is located as the Designated Entity for all PJM-chosen unsponsored
         projects. Under section 1.5.8(l), PJM must identify the incumbent transmission owner as
         the Designated Entity for certain PJM-chosen sponsored projects as well, (i.e.,
         Transmission Owner Designated Projects) regardless of which transmission developer
         proposed the project.30 For all other PJM-chosen sponsored projects, PJM will often
         identify the entity who proposed the project as the Designated Entity, whether that entity
         is the incumbent transmission owner or nonincumbent transmission developer.31

                 Within 15 business days of the PJM Board’s approval of the RTEP, which
         includes transmission project selections, cost allocation determinations, and Designated
         Entity designations, PJM must provide notice to the entities that it has identified as the
         Designated Entity for each transmission project included in the RTEP, the needed
         in-service date for the project, and a date by which all necessary state approvals should be
         obtained.32 To accept its Designated Entity designation, the transmission developer must
         provide notice of its acceptance to PJM within 30 days of receiving notice of its
         designation. The transmission developer must also provide PJM with a development
         schedule with the milestones necessary to develop and construct the selected transmission
         project by the needed in-service date. After the transmission developer accepts its
         Designated Entity designation, PJM must, within 15 days of such acceptance, provide the
         Designated Entity with an executable Designated Entity Agreement setting forth the
         rights and obligations of the parties.33 Finally, within 60 days of receiving notification of




                30
                   Transmission Owner Designated Projects include a “Short-term Project or
         Long-lead Project [that is]: (i) a Transmission Owner Upgrade; (ii) located solely within
         a Transmission Owner’s Zone and the costs of the project are allocated solely to the
         Transmission Owner’s Zone; (iii) located solely within a Transmission Owner’s Zone
         and is not selected in the Regional Transmission Expansion Plan for purposes of cost
         allocation; or (iv) proposed to be located on a Transmission Owner’s existing right of
         way and the project would alter the Transmission Owner’s use and control of its existing
         right of way under state law.” PJM, Intra-PJM Tariffs, OA, Schedule 6, § 1.5.8(l)
         (Transmission Owners Required to be the Designated Entity) (28.0.0).
                31
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(f)
         (Entity-Specific Criteria Considered in Determining the Designated Entity for a Project).
                32
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(i)
         (Notification of Designation Entity).
                33
                 The Commission required PJM to submit any pro forma Designated Entity
         Agreement developed through its stakeholder process to the Commission for review.
         PJM First Compliance Order, 142 FERC ¶ 61,214 at P 280. See also PJM
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024     Page 15 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                   -9-

         its designation, the Designated Entity must submit to PJM the executed Designated Entity
         Agreement and a letter of credit to cover the incremental costs of construction that would
         result if the selected transmission project was reassigned.34

                 Attachment KK to the PJM Open Access Transmission Tariff (OATT) is PJM’s
         Commission-approved pro forma Designated Entity Agreement.35 That agreement sets
         forth the rights and obligations between PJM and the Designated Entity that PJM
         designates, in accordance with Schedule 6, section 1.5.8(i) of the Operating Agreement,
         with the responsibility to construct, own, operate, maintain, and finance a project. The
         pro forma Designated Entity Agreement includes terms and conditions related to project
         construction, including construction milestones, coordination with third parties,
         insurance, breach, and default, among others. Relevant here, it also includes provisions,
         in accordance with section 1.5.8(j) of the Operating Agreement, that require the
         Designated Entity to provide security to PJM in an amount equal to 3% of the estimated
         cost of the project.36

                B.       Subsequent PJM Proposals to Revise the Designated Entity Agreement
                         Requirement

                In the PJM Designated Entity Agreement Order, the Commission interpreted the
         Designated Entity Agreement, and all of its terms and conditions, as applying in full to all
         Designated Entities, including both incumbent transmission owners and nonincumbent
         transmission developers.37 Since then, the Commission has rejected two PJM filings,
         each of which sought, under certain circumstances, to exempt incumbent transmission
         owners from having to execute a Designated Entity Agreement when designated by PJM
         as the Designated Entity for an RTEP project selected by PJM as the more efficient or
         cost-effective solution in the regional transmission plan.


         Interconnection, L.L.C., 148 FERC ¶ 61,187 (2014) (PJM Designated Entity Agreement
         Order) (conditionally accepting the pro forma Designated Entity Order).
                34
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j) (Acceptance
         of Designation).
                35
                  PJM, Intra-PJM Tariffs, OATT Attachment KK (0.1.0) (Form of Designated
         Entity Agreement).
                36
                  PJM, Intra-PJM Tariffs, OATT Attachment KK (0.1.0) (Form of Designated
         Entity Agreement) (referring to Article 3, section 3.0, entitled “Obligation to Provide
         Security”).
                37
                     PJM Designated Entity Agreement Order, 148 FERC ¶ 61,187 at P 47.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447        Filed: 12/26/2024     Page 16 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 10 -

                First, in July 2018, the Commission rejected as unjust, unreasonable, and unduly
         discriminatory or preferential PJM’s FPA section 205 filing to exempt an incumbent
         transmission owner from having to execute a Designated Entity Agreement for
         Transmission Owner Designated Projects.38 PJM argued that the terms of the
         Consolidated Transmission Owners Agreement, to which all incumbent transmission
         owners are parties, are comparable to the terms of the Designated Entity Agreement. The
         Commission disagreed. The Commission explained that “[i]n order for similarly situated
         transmission developers to be treated comparably, . . . the terms of the agreement to
         which the incumbent [transmission] owner [is] subject should not be ‘less stringent’ than
         those contained in the designated development agreement” applicable to nonincumbent
         transmission developers.39 In August 2019, the Commission denied rehearing, explaining
         that where “both incumbent and nonincumbent transmission developers . . . are
         competing for the same opportunity subject to the same set of criteria, those developers
         should be subject to comparable rules for the entirety of that competitive process.”40

                 Second, in February 2022, the Commission rejected PJM’s attempt to make a
         revised compliance filing in response to Order No. 1000 that would have specified that
         incumbent transmission owners are considered Designated Entities only for transmission
         projects that are included in the regional transmission plan for purposes of cost
         allocation, and therefore incumbent transmission owners would be required to execute a
         Designated Entity Agreement only for those projects.41 PJM argued that Order No. 1000
         did not require competitive proposal windows unless the transmission project is selected
         in the regional transmission plan for purposes of cost allocation and, therefore, an
         incumbent transmission owner need not sign a Designated Entity Agreement for those
         projects whose costs are allocated 100% to the incumbent transmission owner. The
         Commission rejected PJM’s filing on procedural grounds, explaining that PJM had
         improperly filed revisions to its Operating Agreement as a compliance filing in response



               38
                    2018 DEA Order, 164 FERC ¶ 61,021 at P 27.
               39
                    Id. at P 29-33.
               40
                   2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at P 19. In addition, because
         “[e]xecution and implementation of the terms of a development agreement, here PJM's
         Designated Entity Agreement, are part of the processing of proposed transmission
         projects,” the Commission considered “whether the terms of any agreement could result
         in undue discrimination ‘both in seeking selection in the regional transmission plan for
         purposes of cost allocation and remaining selected.’” Id. (quoting New York Indep. Sys.
         Operator, Inc., 162 FERC ¶ 61,124, at P 12 (2018) (NYISO 2018 Order)).
               41
                    2022 Rejection Order, 178 FERC ¶ 61,083 at PP 1, 5.
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361             Document #2091447         Filed: 12/26/2024   Page 17 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                            - 11 -

         to an order that was final and required no compliance.42 The Commission explained that,
         because PJM’s proposed revisions would have changed the filed rate, PJM must file its
         proposed revisions in a separate docket under FPA section 20543 (or section 206, if
         appropriate) and meet the requisite evidentiary burden.44

         II.   Overview of Filings

               A.        Complaint

                Complainants argue that, under the Operating Agreement, each Designated Entity
         designated to build an RTEP project approved pursuant to Schedule 6, section 1.5.8 must
         execute a Designated Entity Agreement.45 Complainants argue that the requirement to
         execute a Designated Entity Agreement explicitly applies to both incumbent transmission
         owners and nonincumbent transmission developers, and to all projects included in the
         RTEP, whether or not the project is selected in the regional transmission plan for
         purposes of cost allocation, and whether or not the project is chosen through a
         competitive proposal window, i.e., whether the project is a PJM-chosen sponsored project
         or a PJM-chosen unsponsored project.46

               Complainants allege that PJM has failed, however, to execute a Designated Entity
         Agreement with each Designated Entity in all instances required by the Operating
         Agreement. Instead, according to Complainants, PJM has executed only a handful of
         Designated Entity Agreements with Designated Entities despite having approved
         “hundreds” of RTEP projects pursuant to Schedule 6, section 1.5.8.47

                Complainants contend that neither practice fully complies with the Operating
         Agreement.48 In turn, Complainants request that the Commission immediately direct
         PJM to comply with the Operating Agreement’s requirement that Designated Entities,
         including both incumbent transmission owners and nonincumbent transmission


               42
                    Id. at PP 25-31.
               43
                    16 U.S.C. § 824d.
               44
                    2022 Rejection Order, 178 FERC ¶ 61,083 at PP 27, 30.
               45
                    Complaint at 3-4.
               46
                    Id. at 3-4.
               47
                    See id. at 1-5, 12-13, 21.
               48
                    Id. at 18; see also id. at 2-3.
Document Accession #: 20240725-3020              Filed Date: 07/25/2024
        USCA Case #24-1361               Document #2091447       Filed: 12/26/2024     Page 18 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 12 -

         developers, execute a Designated Entity Agreement.49 Specifically, Complainants
         request that the Commission require PJM to: (1) execute Designated Entity Agreements
         with transmission developers for all previously approved RTEP projects that are under
         construction (i.e., facilities not yet in service), whether or not those projects have been
         selected in the RTEP for purposes of cost allocation; and, (2) execute Designated Entity
         Agreements for all RTEP projects going forward.50

                B.        PJM 206 Filing

                 In the PJM 206 Filing, PJM asserts that “overly broad and imprecise” use of the
         defined term “Designated Entity” in Schedule 6, section 1.5.8 renders the Operating
         Agreement unjust and unreasonable.51 PJM contends that this imprecise and overly
         broad usage of the term “Designated Entity” creates ambiguity in section 1.5.8 and the
         definition of “Designated Entity,” which in turn severely hinders PJM’s ability to
         implement section 1.5.8.52 Accordingly, PJM requests that the Commission find portions
         of the Operating Agreement unjust and unreasonable under FPA section 206 and adopt
         PJM’s proposed replacement rate provisions, which PJM contends would align the
         Operating Agreement language with the scope of Order No. 1000’s reforms, resolve
         ambiguities, and eliminate conflicting interpretations.53

         III.   Notice, Interventions, and Responsive Pleadings

                Notice of the Complaint in Docket No. EL22-80-000 was published in the
         Federal Register, 87 Fed. Reg. 47,418 (Aug. 3, 2022), with interventions and protests due
         on or before August 29, 2022.54


                49
                  Id. at 3, 24. Complainants further argue that while PJM stakeholder processes
         could address Designated Entity Agreement issues, unless and until there are changes to
         the Operating Agreement, PJM must comply with its existing requirements. Id. at 22.
         Complainants assert that there should be no disputed facts and that they seek only
         enforcement of the existing filed rate. Id. at 25.
                50
                     See id. at 3, 25.
                51
                     PJM 206 Filing at 1-2, 14-15.
                52
                     Id. at 2.
                53
                     Id. at 1, 2, 37-38.
                54
                  On August 9, 2022, the Commission issued a notice of extension of time to
         extend the comment deadline from August 15, 2022, to August 29, 2022.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447            Filed: 12/26/2024     Page 19 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 13 -

               Notice of the PJM 206 Filing in Docket No. EL22-85-000 was published in the
         Federal Register, 87 Fed. Reg. 54,686 (Sept. 7, 2022), with interventions and protests
         due on or before September 15, 2022.

                Timely motions to intervene in both Docket No. EL22-80-000 and Docket
         No. EL22-85-000 were filed by: American Electric Power Service Corporation (AEP),55
         Constellation Energy Generation, LLC, Dayton Power and Light Company, Delaware
         Division of the Public Advocate, Dominion Energy Services, Inc. (Dominion Energy), 56
         Duke Energy Corporation (Duke Energy),57 Duquesne Light Company, Exelon
         Corporation, FirstEnergy Service Company (FirstEnergy),58 LSP Transmission Holdings
         II, LLC (LSP Transmission), Monitoring Analytics, LLC, acting in its capacity as the
         independent market monitor for PJM, the New Jersey Division of Rate Counsel, the Ohio
         Federal Energy Advocate, Old Dominion Electric Cooperative, PPL Electric Utilities
         Corporation, Public Citizen, Inc., and Rockland Electric Company. The New Jersey
         Board of Public Utilities filed a notice of intervention in both proceedings.

                Timely motions to intervene in Docket No. EL22-80-000 were filed by Buckeye
         Power, Inc., Calpine Corporation, East Kentucky Power Cooperative, Inc., the
         Organization of PJM States, Inc. (OPSI), and the Solar Energy Industries Association.
         The Public Service Commission of the District of Columbia and the Kentucky Public
         Service Commission filed notices of intervention in Docket No. EL22-80-000.

               Timely motions to intervene in Docket No. EL22-85-000 were filed by American
         Municipal Power, Inc., Delaware Municipal Electric Corporation, Inc., the Office of the

               55
                 AEP intervened on behalf of its affiliates, Appalachian Power Company,
         Indiana Michigan Power Company, Kentucky Power Company, Kingsport Power
         Company, Ohio Power Company, Wheeling Power Company, AEP Appalachian
         Transmission Company, Inc., AEP Indiana Michigan Transmission Company, Inc., AEP
         Kentucky Transmission Company, Inc., AEP Ohio Transmission Company, Inc., and
         AEP West Virginia Transmission Company, Inc.
               56
                Dominion Energy intervened on behalf of Virginia Electric and Power
         Company.
               57
                 Duke Energy intervened on behalf of its franchised public utility affiliates, Duke
         Energy Ohio, Inc., Duke Energy Kentucky, Inc., Duke Energy Indiana, LLC, Duke
         Energy Carolinas, LLC, and Duke Energy Progress, LLC.
               58
                 FirstEnergy intervened as agent for its affiliates American Transmission
         Systems, Inc., Jersey Central Power & Light Company, Mid-Atlantic Interstate
         Transmission LLC, West Penn Power Company, The Potomac Edison Company,
         Monongahela Power Company, and Trans-Allegheny Interstate Line Company.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447            Filed: 12/26/2024     Page 20 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 14 -

         People’s Counsel for the District of Columbia, the North Carolina Electric Membership
         Corporation, and the PJM Industrial Customer Coalition.

                 On August 30, 2022, Public Service Electric and Gas Company and Delaware
         Municipal Electric Corporation, Inc. filed motions to intervene out-of-time in Docket
         No. EL22-80-000. On September 16, 2022, Southern Maryland Electric Cooperative,
         Inc. filed a motion to intervene out-of-time in Docket No. EL22-85-000. On August 30,
         2022, in Docket No. EL22-80-000, and on September 16, 2022, in Docket
         No. EL22-85-000, the Data Center Coalition filed motions to intervene out-of-time and
         comments.

                On August 29, 2022, PJM filed an answer in Docket No. EL22-80-000 (PJM
         Answer to Complaint). On September 15, 2022, Complainants and LSP Transmission
         (Joint Protestors) filed a joint protest, motion to consolidate, motion for leave to answer
         and answer (Joint Protest) in both Docket No. EL22-80-000 and Docket
         No. EL22-85-000. Indicated PJM Transmission Owners (ITOs)59 filed comments in both
         Docket No. EL22-80-000 and Docket No. EL22-85-000, and LSP Transmission and
         OPSI filed comments in Docket No. EL22-80-000. On October 11, 2022, PJM filed a
         motion for leave to answer and answer (PJM Second Answer) in both Docket
         No. EL22-80-000 and Docket No. EL22-85-000.




                59
                    ITOs include: American Electric Power Service Corporation on behalf of its
         affiliates, Appalachian Power Company, Indiana Michigan Power Company, Kentucky
         Power Company, Kingsport Power Company, Ohio Power Company, Wheeling Power
         Company, AEP Appalachian Transmission Company, Inc., AEP Indiana Michigan
         Transmission Company, Inc., AEP Kentucky Transmission Company, Inc., AEP Ohio
         Transmission Company, Inc., and AEP West Virginia Transmission Company, Inc.
         (collectively, AEP); The Dayton Power and Light Company; Duke Energy Corporation
         on behalf of its affiliates Duke Energy Ohio, Inc., Duke Energy Kentucky, Inc., and Duke
         Energy Business Services LLC; Duquesne Light Company; East Kentucky Power
         Cooperative, Inc.; Exelon Corporation; The FirstEnergy Transmission Companies,
         including American Transmission Systems, Incorporated, Jersey Central Power & Light
         Company, Mid-Atlantic Interstate Transmission LLC, West Penn Power Company, The
         Potomac Edison Company, Monongahela Power Company, and Trans-Allegheny
         Interstate Line Company; PPL Electric Utilities Corporation; Public Service Electric and
         Gas Company; Rockland Electric Company; UGI Utilities Inc.; and Virginia Electric and
         Power Company.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447              Filed: 12/26/2024     Page 21 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 15 -

         IV.    Discussion

                A.     Procedural Matters

                Pursuant to Rule 214 of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.214 (2023), the notices of intervention and timely, unopposed motions to
         intervene serve to make the entities that filed them parties to this proceeding.

                 Pursuant to Rule 214(d) of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.214(d), we grant Public Service Electric and Gas Company’s, Delaware
         Municipal Electric Corporation, Inc.’s, and Southern Maryland Electric Cooperative,
         Inc.’s late-filed motions to intervene given their interests in these proceedings, the early
         stage of these proceedings, and the absence of undue prejudice or delay.60

                Rule 213(a)(2) of the Commission’s Rules of Practice and Procedure, 18 C.F.R.
         § 385.213(a)(2) (2023), prohibits an answer to a protest or an answer unless otherwise
         ordered by the decisional authority. We accept PJM’s and Joint Protestors’ answers
         because they provided information that assisted us in our decision-making process.

               With respect to Joint Protestors’ motion to consolidate,61 we find consolidation to
         be unnecessary because the paper hearing that we establish primarily relates to our

                60
                   See 18 C.F.R. § 385.214(d)(1); ISO New England Inc., 171 FERC ¶ 61,235,
         at P 30 (2020). The Commission’s regulations provide that timely motions to intervene
         must be filed within the time prescribed by the Commission’s notice of the proceeding
         for filing interventions and protests. 18 C.F.R. § 385.210(b) (2023). Here, the initial
         comment notices in these proceedings specified that comments were due by the
         Commission’s 5 p.m. Eastern time filing deadline on August 15, 2022 (Docket
         No. EL22-80-000, later extended to August 29, 2022) and September 15, 2022 (Docket
         No. EL22-85-000); see also Filing Via the Internet; Electronic Tariff Filings Notice of
         Display of Time on Commission's Electronic Filing System, 75 Fed. Reg. 38,805 (July 6,
         2010) (noting the Commission’s 5 p.m. Eastern time deadline for filing). For Data
         Center Coalition’s motions to intervene, however, the Commission’s public eLibrary
         database lists a “First Received Date” of “08/29/2022 06:22:48 PM” and a “Filed” date of
         “08/30/2022” in Docket No. EL22-80-000 and a “First Received Date” of “09/15/2022
         05:48:21 PM” and a “Filed” date of “09/16/2022” in Docket No. EL22-85-000. We take
         this opportunity to remind filers that under the Commission’s regulations, “[d]ocuments
         received after regular business hours are deemed to have been filed on the next regular
         business day.” 18 C.F.R. § 375.105(c) (2023).
                61
                 See American Municipal Power, Inc. et al., Joint Protest, Motion to Consolidate,
         Motion for Leave to Answer, and Answer at 3-4, Docket Nos. EL22-80-000 and
         EL22-85-000 (filed Sept. 15, 2022) (Joint Protest, Docket Nos. EL22-80-00 and
         EL22-85-000). Conversely, ITOs request that the Commission hold Docket
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447          Filed: 12/26/2024    Page 22 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                              - 16 -

         finding that PJM has violated its Operating Agreement, i.e. the issue raised by the
         Complaint in Docket No. EL22-80-000, and not to whether the Operating Agreement is
         unjust, unreasonable, or unduly discriminatory, i.e. the issue raised by the PJM 206 Filing
         in Docket No. EL22-85-000. Accordingly, we deny Joint Protestors’ motion.

                B.       Substantive Issues

                         1.      Scope of PJM RTEP Projects Subject to Operating Agreement’s
                                 Designated Entity Agreement Requirements

                Below, we summarize arguments in the Complaint, PJM 206 Filing, and both
         dockets’ pleadings that address the scope of RTEP projects subject to the Designated
         Entity Agreement requirements in Schedule 6 of the currently-effective Operating
         Agreement.

                                 a.     Filings

                                        i.      Complaint (Docket No. EL22-80-000)

                Complainants allege that PJM has failed to execute a Designated Entity
         Agreement with Designated Entities in all instances required by Schedule 6, section 1.5.8
         of the Operating Agreement. Complainants argue that each Designated Entity, whether
         an incumbent transmission owner or nonincumbent transmission developer, designated to
         build an RTEP project approved pursuant to section 1.5.8 must execute a Designated
         Entity Agreement. Complainants argue further that this requirement applies regardless of
         whether the project is chosen through a competitive proposal window or whether the
         project is selected in the regional transmission plan for purposes of cost allocation.62
         Complainants contend that PJM has not historically issued Designated Entity Agreements
         to incumbent transmission owners for RTEP projects that were exempt from competitive
         proposal window processes or whose costs were not regionally allocated.63 At present,
         Complainants contend that PJM still does not require a Designated Entity Agreement for



         No. EL22-80-000 in abeyance pending resolution of PJM’s filing in Docket
         No. EL22-85-000, and request that the Commission deny the Complaint’s request for
         fast-track processing. See ITOs Comments on Complaint, Docket No. EL22-80-000,
         at 5, 23-26.
                62
                 Complaint at 3-4. Complainants further argue that the requirement to execute a
         Designated Entity Agreement specifically applies to Immediate-need Reliability Projects
         approved through Schedule 6, section 1.5.8(m)(1). Id. at 4.
                63
                     See id. at 2, 21 (citations omitted).
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447        Filed: 12/26/2024     Page 23 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 17 -

         projects that do not go through competitive proposal window processes.64 Moreover,
         rather than comply with the Operating Agreement, Complainants argue that PJM has
         repeatedly tried through various avenues and filings to change it.65

                Complainants argue that PJM, in carrying out its responsibilities, misreads the
         Operating Agreement, which, in Complainants’ interpretation, contains no ambiguity
         about when and for which projects a transmission developer must execute a Designated
         Entity Agreement.66 Complainants contend that every transmission developer must
         execute a Designated Entity Agreement when it qualifies as a Designated Entity under
         the Operating Agreement’s definition of such, i.e., when designated as responsible “to
         construct, own, operate, maintain, and finance Immediate-need Reliability Projects,
         Short-term Projects, Long-lead Projects, or Economic-based Enhancements or
         Expansions.”67

                 Complainants contend that there are no carve-outs or alternative processes in
         Schedule 6, section 1.5.8(j) for different types of projects designated to incumbent
         transmission owners who are parties to PJM’s Consolidated Transmission Owners
         Agreement.68 That is, regardless of whether a transmission developer is an incumbent
         transmission owner or a nonincumbent transmission developer, Complainants contend
         that Designated Entity Agreements are required for all RTEP projects approved pursuant
         to section 1.5.8.69 Complainants argue that PJM has tried to “informally create a
         distinction” between what PJM views as “Order No. 1000 Projects” (i.e., projects that are
         selected through an open competitive proposal window and receive regional cost
         allocation), and “non-Order No. 1000 projects” (i.e., projects not chosen through a
         competitive proposal window, or chosen through a competitive proposal window but

               64
                    See id. at 2-3.
               65
                See Complaint at 4-5 & nn.13-16, 13-15 (citing in part 2018 DEA Order,
         164 FERC ¶ 61,021 at PP 1 n.6, 35; 2022 Rejection Order, 178 FERC ¶ 61,083 at P 1).
               66
                    See Complaint at 15-16.
               67
                Id. at 16 (citation omitted); see also supra note 32 (providing the Operating
         Agreement’s definition of Designated Entity).
               68
                   See id. at 17 (citing PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0),
         § 1.5.8(j) (Acceptance of Designation), id. § 1.5.8(l) (Transmission Owners Required to
         be the Designated Entity), id. § 1.5.8(m)(1) (Immediate-need Reliability Projects), id.
         § 1.5.8(n) (Reliability Violations on Transmission Facilities Below 200 kV), and id.
         § 1.5.8(p) Thermal Reliability Violations on Transmission Substation Equipment)).
               69
                    See Complaint at 15-16, 17-18
Document Accession #: 20240725-3020                  Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447             Filed: 12/26/2024   Page 24 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 18 -

         whose costs are allocated solely to the PJM zone where the project is located).70
         Complainants argue, however, that such distinctions do not exist in the Operating
         Agreement’s project categories or definitions, or in the Operating Agreement’s definition
         of Designated Entity.71 Because these Operating Agreement provisions and definitions
         comprise the filed rate governing PJM’s RTEP, Complainants argue that PJM must
         adhere to them.72

                Complainants additionally argue that PJM’s Order No. 1000 compliance filings
         confirm that all Designated Entities are required to execute a Designated Entity
         Agreement.73 Citing PJM’s first Order No. 1000 compliance filing in Docket
         No. ER13-198-000, Complainants argue that the Operating Agreement recognizes that
         incumbent transmission owners are Designated Entities subject to a Designated Entity
         Agreement, even where the Designated Entity is the default entity designated to develop
         and build a project outside of a competitive proposal window process.74 Citing PJM’s
         second Order No. 1000 compliance filing in Docket No. ER13-198-002, Complainants
         argue that the Operating Agreement requires both incumbent transmission owners and
         nonincumbent transmission developers to execute a Designated Entity Agreement if
         chosen as a Designated Entity.75 These compliance filings, Complainants contend, show



                70
                     Id. at 17 (citation omitted).
                71
                  Complainants state that the definition of Designated Entity includes “an entity,
         including an existing Transmission Owner or Nonincumbent Developer, designated by
         [PJM] with the responsibility to construct, own, operate, maintain, and finance
         Immediate-need Reliability Projects, Short-term Projects, Long-lead Projects, or
         Economic-based Enhancements or Expansions.” Complaint at 17-18 (citing PJM,
         Intra-PJM Tariffs, OA, Definitions, OA Definitions C – D (28.2.0)).
                72
                     Complaint at 18; see also id. at 2-3.
                73
                     Id. at 18-19.
                74
                   See id. at 18-19 (citing PJM, Compliance Filing, Docket No. ER13-198-000,
         at 70-71 (filed Oct. 25, 2012) (First PJM Order No. 1000 Compliance Filing) (“[PJM
         would] designate the Transmission Owner(s) in the Zone(s) where the project is located
         to be the Designated Entity.”) (emphasis added)).
                75
                  See Complaint at 19 (citing PJM, Compliance Filing, Docket
         No. ER13-198-002, at 44-45 (filed July 22, 2013) (Second PJM Order No. 1000
         Compliance Filing) (“In the [First PJM Compliance Order], the Commission interpreted
         the requirement in section 1.5.8(j) for a Designated Entity to submit an executed
         agreement to PJM ‘within 60 days of receiving notification of its designation as
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447           Filed: 12/26/2024     Page 25 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                              - 19 -

         that PJM did not include in the Designated Entity Agreement requirements that it filed
         with the Commission the limitations that Complainants allege PJM is now applying in
         practice.76

                                        ii.   Responsive Pleadings to Complaint

                In its answer, PJM argues that the competitive proposal window process in
         Schedule 6, section 1.5.8 was submitted in compliance with Order No. 1000, and that,
         consistent with Order No. 1000, Designated Entity Agreements are required only for
         projects chosen in the competitive proposal window process and that have costs allocated
         to more than one zone. PJM states that, since the Commission approved section 1.5.8,
         PJM has not expanded section 1.5.8’s meaning to encompass more than its “historic roots
         and original intent.”77 PJM asserts that Complainants are seeking a Commission order
         “re-interpreting” section 1.5.8’s language in a manner inconsistent with PJM’s course of
         conduct since 2014.

                 PJM states that it recognizes that Schedule 6, section 1.5.8’s provisions are not
         drafted as clearly as they could have been. PJM asserts that there is no basis, however,
         for a finding that PJM has violated the Operating Agreement. Rather, contrary to
         Complainants’ assertions, PJM contends that the Operating Agreement is, at worst,
         ambiguous and therefore susceptible to an interpretation that is at odds with its
         “regulatory context, PJM’s stated intent at the time of its compliance filings, and PJM’s
         subsequent course of conduct.” PJM further contends that, rather than acknowledging
         this ambiguity, Complainants unfairly request that the Commission suddenly find that the
         language is clear and direct PJM to enforce Complainants’ preferred interpretation
         without considering other interpretations or the feasibility and ultimate cost to customers
         of that preferred interpretation.

                PJM also asserts that Complainants make a poor showing in support of their
         contention that Schedule 6, section 1.5.8 is not ambiguous. PJM states that Complainants
         do not engage with the actual text of the relevant provisions. PJM asserts that a proper
         textual analysis clearly demonstrates that there are ambiguities in section 1.5.8, despite
         Complainants contrary claims.78 PJM further contends that a proper interpretation



         Designated Entity to apply equally to incumbent transmission developers.’ This
         interpretation is correct.”)).
                76
                     Complaint at 19.
                77
                     PJM Answer to Complaint, Docket No. EL22-80-000, at 1-2.
                78
                     Id. at 5-6.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024      Page 26 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 20 -

         exercise looks at all relevant parts of an agreement.79 According to PJM, the Designated
         Entity Agreement is unambiguous in that it applies only “in accordance with . . . Order
         No. 1000,”80 which, PJM states, Complainants do not contest. This contradiction,
         according to PJM, underscores the ambiguities present in section 1.5.8.81

                 PJM states that stakeholders were unwilling to revise the Operating Agreement in
         a timely manner and that the Commission rejected, on procedural grounds, PJM’s attempt
         to remove ambiguities through an “updated compliance filing.” Consequently, PJM
         asserts that its only choice was to file the PJM 206 Filing requesting that the Commission
         remove the ambiguities in section 1.5.8 and “Designated Entity” definition. PJM further
         asserts that granting the PJM 206 Filing’s requested relief would moot the Complaint,
         because, through the PJM 206 Filing, PJM is addressing the ambiguity by asking the
         Commission to approve a just and reasonable replacement rate that is consistent with
         PJM’s original intent, and that PJM can effectively implement. Therefore, PJM requests
         that the Commission address these issues through action on the PJM 206 Filing. 82

                 According to PJM, at the heart of the Complaint and the PJM 206 Filing is the
         question that PJM asserts the Commission left unresolved in the 2018 DEA Order:
         whether transmission developers for projects that are not selected in the RTEP for
         purposes of cost allocation are similarly situated to transmission developers for projects
         that are selected in the RTEP for purposes of cost allocation, and therefore, whether
         transmission developers for projects that are not selected in the RTEP for purposes of
         cost allocation must execute a Designated Entity Agreement.

              Agreeing with Complainants, OPSI states that it believes that the Operating
         Agreement’s Designated Entity requirements are clear and that a Designated Entity
         Agreement must be executed for all non-local projects included in PJM’s RTEP.83 OPSI

                79
                   Id. at 6 (citing several cases for the proposition that a document should be read
         to give effect to all of its provisions).
                80
                 Id. (citing PJM, Intra-PJM Tariffs, OATT Attachment KK (0.1.0) (Form of
         Designated Entity Agreement) (first “whereas” clause of the pro forma Designated Entity
         Agreement)).
                81
                  PJM Answer to Complaint, Docket No. EL22-80-000, at 6. PJM states that the
         PJM 206 Filing also demonstrates the ambiguity in section 1.5.8 (citing PJM 206 Filing
         at 17-20).
                82
                   PJM Answer to Complaint, Docket No. EL22-80-000, at 1-3. See also PJM 206
         Filing at 14, 17-20 for similar arguments.
                83
                     OPSI Comments on Complaint, Docket No. EL22-80-000, at 4.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024     Page 27 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 21 -

         contends that the term “Designated Entity” encompasses both incumbent transmission
         owners and nonincumbent transmission developers, and that both types of entities must
         execute Designated Entity Agreements under the Operating Agreement.84 OPSI urges the
         Commission to ensure that PJM accurately interprets its Operating Agreement so that
         consumers can benefit from the important protections that Designated Entity Agreements
         provide.85

                LSP Transmission also supports the Complaint and agrees that the Operating
         Agreement unambiguously requires a Designated Entity Agreement for every RTEP
         project, including those designated to incumbent transmission owners outside of a
         competitive proposal window.86 LSP Transmission contends that the Designated Entity
         Agreement requirements ensure that PJM has the ability to hold a developer constructing
         a regionally planned project accountable, which includes an incumbent transmission
         owner, and thus Designated Entity Agreement requirements are not “just about new
         entrants and competition.”87 LSP Transmission states that it has spent several years
         urging PJM to comply with LSP Transmission, consumer groups, and other stakeholders’
         view of what the Operating Agreement requires.88 LSP Transmission contends that
         PJM’s ability to track a transmission developer’s progress on a project using Designated
         Entity Agreements is especially important for Immediate-need Reliability Projects, for
         which PJM does not hold a competitive proposal window because PJM has deemed the



                84
                 Id. (citing PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j)
         (Acceptance of Designation)).
                85
                  OPSI Comments on Complaint, Docket No. EL22-80-000, at 3; see also id.
         (arguing that reevaluation, project milestones, breach, and security requirements are
         consumer protections required by a Designated Entity Agreement); LSP Transmission
         Comments on Complaint, Docket No. EL22-80-000, at 2, 3-4, (agreeing with OPSI that
         Designated Entity Agreements provide important consumer protections).
                86
                     LSP Transmission Comments on Complaint, Docket No. EL22-80-000, at 1-2.
                87
                   See id. at 2 n.6 (citing Order No. 1000, 136 FERC ¶ 61,051 at P 329). Because
         a Designated Entity Agreement sets out specific project development milestones that, if
         missed, are considered a breach of contract, LSP Transmission argues that these
         requirements put PJM in control of tracking a transmission developer’s progress and can
         lead to consideration of alternatives, including whether to cancel or reassign the project.
         Id. at 4. LSP Transmission further asserts that there are no equivalent requirements in
         any other governing tariff or agreement. Id. (citations omitted).
                88
                     LSP Transmission Comments on Complaint, Docket No. EL22-80-000, at 2-3.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024     Page 28 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 22 -

         projects to be so time-sensitive.89 When such projects are delayed, LSP Transmission
         contends that PJM needs to be “firmly in control of all the options” that PJM may need in
         order to respond. If a Designated Entity Agreement is in place, LSP Transmission argues
         that PJM “can rely on a breach of project milestones, not just a violation of the
         Consolidated Transmission Owners Agreement.”90

                ITOs argue that the Commission should deny the Complaint, reasoning that it is
         just and reasonable for PJM to not issue Designated Entity Agreements for all projects
         planned pursuant to Schedule 6, section 1.5.8.91 ITOs contend that the Complaint
         construes Designated Entity Agreement requirements too broadly, and Complainants’
         interpretation of the Operating Agreement would require Designated Entity Agreements
         even for projects selected outside of a competitive window process, for which there is no
         reasonable basis to require an agreement that ensures non-discriminatory treatment of
         similarly situated entities.92

                 ITOs assert that Schedule 6’s provisions were never meant to require Designated
         Entity Agreements for projects that do not result from a competitive proposal window, or
         that are not selected in the regional transmission plan for purposes of cost allocation.93
         ITOs assert that PJM added Schedule 6’s provisions so that PJM would have the means
         to memorialize the rights and obligations of the entities who are designated to construct
         projects selected through the competitive process for regional cost allocation, but who are
         not eligible to execute the Consolidated Transmission Owners Agreement.94 ITOs further



                89
                     Id. at 4.
                90
                   Id. at 5; see also id. (contending that if PJM had executed a Designated Entity
         Agreement for delayed Immediate-need Reliability Projects, then PJM would be required
         to reevaluate whether the current project remains the more efficient or cost-effective
         solution, or whether there are alternatives that could be constructed sooner).
                91
                     ITOs Comments on Complaint, Docket No. EL22-80-000, at 2.
                92
                   Id. at 2-3 & n.4; see also id. at 6 (citing PJM, Intra-PJM Tariffs, OA, Schedule 6
         Sec 1.5 (28.0.0), § 1.5.8(m)(1) (Immediate-need Reliability Projects), id. § 1.5.8(n)
         (Reliability Violations on Transmission Facilities Below 200 kV), and id. § 1.5.8(p)
         (Thermal Reliability Violations on Transmission Substation Equipment).
                93
                 ITOs Comments on Complaint, Docket No. EL22-80-000, at 3; ITOs Comments
         on PJM 206 Filing at 3, 5-7.
                94
               ITOs Comments on Complaint, Docket No. EL22-80-000, at 3-4, 9; ITOs
         Comments on PJM 206 Filing at 2 (describing a Designated Entity Agreement as a
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024     Page 29 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 23 -

         argue that because the Commission’s Designated Entity Agreement-related directives
         were made within the context of qualification and selection of projects in the regional
         transmission plan for purposes of cost allocation, these directives do not apply to projects
         selected outside of a competitive proposal process.95 ITO’s contend that the
         Commission’s directive for Schedule 6 is to “treat like entities alike, which PJM is
         doing.”96 ITOs argue that neither PJM’s 2018 filing, PJM’s 2022 filing, nor the resulting
         Commission orders support Complainants’ claims, and the 2018 DEA Order sought to
         ensure comparable rules for competitive processes, not universal rules for all RTEP
         projects.97

                 ITOs also contend that the Complaint’s reasoning is flawed because Schedule 6,
         section 1.5.8 does not clearly specify to which projects the Designated Entity Agreement
         requirements apply.98 Specifically, ITOs note that section 1.5.8(m)(2) references a
         Designated Entity’s acceptance of designation under section 1.5.8(j), while
         section 1.5.8(m)(1) does not.99 ITOs further argue that section 1.5.8(n) and section
         1.5.8(p) do not use the term Designated Entity or reference subsection (j), and thus
         Designated Entity Agreement requirements do not apply to projects governed by those
         sections.100 ITOs argue that other Schedule 6 sections, including sections 1.6(b) and
         1.7(c), distinguish between the terms Transmission Owner(s) and Designated Entities,




         “bridge” agreement that spans the time between project designation and project
         completion for a nonincumbent transmission developer).
                95
                   See ITOs Comments on Complaint, Docket No. EL22-80-000, at 9-11; see also
         id. at 16-17.
                96
                     See ITOs Comments on Complaint, Docket No. EL22-80-000, at 10-12.
                97
                   Id. at 12-16 (citations omitted); see also ITOs Comments on PJM 206 Filing
         at 9-11 (citations omitted); id. at 19 (arguing that PJM’s proposed replacement rate is
         fully consistent with the 2018 DEA Order and 2019 Rehearing Order).
                98
                     See ITOs Comments on Complaint, Docket No. EL22-80-000, at 4.
                99
                     See id. at 16-17; ITOs Comments on PJM 206 Filing, Docket No. EL22-85-000,
         at 13-14.
                100
                ITOs Comments on Complaint, Docket No. EL22-80-000, at 17; ITOs
         Comments on PJM 206 Filing, Docket No. EL22-85-000, at 14.
Document Accession #: 20240725-3020              Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447           Filed: 12/26/2024     Page 30 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 24 -

         contrary to the Complaint’s contentions that incumbent Transmission Owners must be
         treated as Designated Entities for all RTEP projects.101

                ITOs argue that Complainants are asking the Commission to drastically expand
         Designated Entity Agreement-related requirements so that they apply to hundreds of
         additional projects, even though there is no precedent to support applying Designated
         Entity Agreement-related requirements to projects not subject to Order No. 1000
         competitive processes.102 Echoing PJM’s arguments, ITOs assert that Order No. 1000
         distinguishes between transmission facilities selected pursuant to a regional transmission
         planning process for purposes of cost allocation and facilities that are not, a distinction
         that ITOs assert is an essential component of Order No. 1000.103

                                       iii.    PJM 206 Filing (Docket No. EL22-85-000)

                PJM asserts that Schedule 6, section 1.5.8’s use of the defined term Designated
         Entity is “overly broad and imprecise.” PJM contends that this imprecise and overly
         broad usage makes section 1.5.8 and the definition of Designated Entity ambiguous,
         which, in turn, severely hinders PJM’s ability to implement section 1.5.8’s
         requirements.104 Therefore, PJM argues that the Commission should find PJM’s




                101
                   ITOs Comments on Complaint, Docket No. EL22-80-000, at 17-18 (citing
         PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.6 (4.0.0), § 1.6(b) (Approval of the Final
         Regional Transmission Expansion Plan); PJM, Intra-PJM Tariffs, OA, Schedule 6
         Sec 1.7 (3.0.0), § 1.7(c) (Obligation to Build)); ITOs Comments on PJM 206 Filing,
         Docket No. EL22-85-000, at 15 (same).
                102
                     See ITOs Comments on Complaint, Docket No. EL22-80-000, at 4-5; see also
         id. at 6-7 (citing PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(m)(1)
         (Immediate-need Reliability Projects), id. § 1.5.8(n) (Reliability Violations on
         Transmission Facilities Below 200 kV), and id. § 1.5.8 (p) Thermal Reliability Violations
         on Transmission Substation Equipment)); id. at 18-19; ITOs Comments on PJM 206
         Filing at 5-8 (arguing that PJM’s filings in compliance with Order No. 1000 and the
         Commission orders accepting them do not suggest that Designated Entity Agreement
         requirements should or would apply to projects outside of a competitive proposal process
         for purposes of regional cost allocation); id. at 16.
                103
                ITOs Comments on Complaint, Docket No. EL22-80-000, at 7-8; see also ITOs
         Comments on PJM 206 Filing at 4; PJM 206 Filing at 8.
                104
                      PJM 206 Filing at 1-2.
Document Accession #: 20240725-3020              Filed Date: 07/25/2024
        USCA Case #24-1361               Document #2091447        Filed: 12/26/2024     Page 31 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 25 -

         Operating Agreement to be unjust and unreasonable and revise section 1.5.8 and the
         Designated Entity definition accordingly.105

                PJM states that the issue in Docket No. EL22-85-000 is for which projects
         included in the RTEP is the execution of a pro forma Designated Entity Agreement
         required, and not which entity must execute a Designated Entity Agreement.106 PJM also
         contends that the interpretation of section 1.5.8 that Complainants argue for in Docket
         No. EL22-80-000, i.e., that any project planned in accordance with section 1.5.8 must
         execute a Designated Entity Agreement, would lead to an unjust and unreasonable
         application of the Operating Agreement.107 Rather, PJM argues that the requirement to
         execute a Designated Entity Agreement applies only to those projects that are chosen
         through PJM’s competitive proposal window process and selected in the RTEP for
         purposes of cost allocation.108

                 PJM states that the crux of the issue is that while Schedule 6, section 1.5.8 details
         the competitive proposal window process for RTEP projects in subsections (a) through
         (k) and (m)(2), not every RTEP project planned in accordance with section 1.5.8 goes
         through the competitive proposal window process, and not every project that goes
         through a competitive proposal window process is selected in the RTEP for purposes of
         cost allocation.109 For example, PJM states that under sections 1.5.8(m)(1), 1.5.8(n), and
         1.5.8(p), three particular types of transmission projects are exempt from competitive
         proposal window processes.110 PJM also states that many RTEP projects planned in
         accordance with section 1.5.8 are local transmission projects that are designated to the
         incumbent transmission owner and whose costs are 100% allocated to the local




                105
                      Id. at 1-2.
                106
                      Id. at 2.
                107
                      Id. at 2-3.
                108
                      Id. at 6.
                109
                      Id. at 3, 10-11.
                110
                   Id. at 10 n.30 (identifying Immediate-need Reliability Projects for which PJM
         determines that a competitive proposal window may not be feasible under Schedule 6,
         § 1.5.8(m)(1), transmission solutions addressing certain reliability violations on
         transmission facilities below 200 kV under section 1.5.8(n), and transmission solutions
         addressing thermal reliability violations on substation equipment under section 1.5.8(p)).
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361             Document #2091447              Filed: 12/26/2024      Page 32 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                      - 26 -

         transmission zone.111 PJM states that while some categories of Transmission Owner
         Designated Projects are included in the RTEP, not all such projects are selected in the
         regional transmission plan for purposes of cost allocation.112

                 PJM argues that, despite the clear intent of its Order No. 1000 compliance filings,
         the relevant Operating Agreement language is ambiguous as to when PJM should use
         Designated Entity Agreements for RTEP projects.113 PJM contends that the confusion
         stems from imprecise and casual usage of the defined term “Designated Entity”
         throughout the Operating Agreement, as that term is used even for RTEP projects that are
         exempt from Order No. 1000 competitive proposal window processes.114 PJM argues
         that while multiple sections in Schedule 6, section 1.5.8 use the defined term “Designated
         Entity,” that term is “improperly being used as shorthand for the broader concept of the
         entity responsible for constructing RTEP projects” in sections 1.5.8(g), (h), (l), and
         (m)(1). According to PJM, these sections address projects that are either: (1) sponsored
         through a competitive proposal window but then have their costs allocated solely to a
         single zone; or, (2) not sponsored through a competitive proposal window process but
         instead selected by PJM and designated to the incumbent transmission owner.115 Use of
         the defined term Designated Entity in these sections, PJM argues, is improper because the
         projects being addressed were not both chosen through PJM’s competitive window
         process and selected in the RTEP for purposes of cost allocation.116

                 Citing Order No. 1000 and its Order No. 1000 compliance filings, PJM argues that
         its intent in proposing Schedule 6, section 1.5.8, the definition of “Designated Entity,”
         and the pro forma Designated Entity Agreement was to comply with Order No. 1000, and
         not to amend the Operating Agreement in any way beyond what Order No. 1000
         requires.117 PJM contends that Order No. 1000 was clear that the reforms directing the
         implementation of competitive transmission development processes apply only to

                111
                    PJM 206 Filing at 3 (citing PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5.
         (28.0.0), § 1.5.8(l) (Transmission Owners Required to be the Designated Entity)).
                112
                  PJM 206 Filing at 11 (quoting 2018 DEA Order, 164 FERC ¶ 61,021 at PP 32,
         33 & n.61).
                113
                      PJM 206 Filing at 14; see also id. at 11-14 (citations omitted).
                114
                      Id. at 14.
                115
                      See id. at 18.
                116
                      Id.
                117
                      See id. at 9-10 (citations omitted); see also id. at 7-9 (citations omitted).
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447             Filed: 12/26/2024      Page 33 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                  - 27 -

         transmission facilities that are selected in a regional transmission plan for purposes of
         cost allocation and not, for example, to transmission facilities in local transmission
         plans.118 PJM contends that Order No. 1000 distinguished between a “transmission
         facility in a regional transmission plan” and a “transmission facility selected in a regional
         transmission plan for purposes of cost allocation,” and the Commission found this
         distinction essential.119 PJM argues that, in its view, Order No. 1000’s reforms do not
         apply to a transmission facility in the regional transmission plan that has not been
         selected using the competitive proposal window process.120

                Accordingly, PJM argues that the intent of its Order No. 1000 compliance filings
         was for the defined term “Designated Entity” to identify those entities (whether
         incumbent transmission owners or nonincumbent transmission developers) that both:
         (1) meet applicable pre-qualification requirements; and (2) compete in the competitive
         proposal window to be the entity designated to construct, own and/or finance
         transmission projects chosen through a competitive proposal window as the more
         efficient or cost-effective solution to be selected in the RTEP for purposes of cost
         allocation.121 Similarly, PJM argues that the Designated Entity Agreement was added to
         its governing documents as part of the Order No. 1000 compliance process, and
         references to the pro forma Designated Entity Agreement in Schedule 6, section 1.5.8(j)




                118
                      See id. at 8 (quoting Order No. 1000, 136 FERC ¶ 61,051 at P 7).
                119
                      Id. (quoting Order No. 1000, 136 FERC ¶ 61,051 at P 5 (emphasis removed)).
                120
                    Id. at 9 (quoting Order No. 1000, 136 FERC ¶ 61,051 at P 63); see also Order
         No. 1000, 136 FERC ¶ 61,051 at P 63 (explaining that “[t]ransmission facilities selected
         in a regional transmission plan for purposes of cost allocation are transmission facilities
         that have been selected pursuant to a transmission planning region’s
         Commission-approved regional transmission planning process for inclusion in a regional
         transmission plan for purposes of cost allocation because they are more efficient or
         cost-effective solutions to regional transmission needs” and “may include both regional
         transmission facilities . . . and interregional transmission facilities” but does not include a
         transmission facility “that has not been selected in the manner described above, such as a
         local transmission facility or a merchant transmission facility”).
                121
                  PJM 206 Filing at 11 (citing PJM, Compliance Filing of PJM Interconnection,
         L.L.C., Docket No. ER13-198-000, at 49-50 (filed Oct. 25, 2012) (PJM First Order
         No. 1000 Compliance Filing)).
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447             Filed: 12/26/2024    Page 34 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 28 -

         came in PJM’s second Order No. 1000 compliance filing, which was intended to “ensure
         smooth implementation of the new competitive solicitation process.”122

                 Based on these compliance filing statements, PJM concludes that the requirement
         to execute a Designated Entity Agreement “unambiguously applies only to projects
         selected in PJM’s Order No. 1000 competitive window process” and “not broadly to any
         project planned in accordance with section 1.5.8.”123 PJM also contends that the
         Commission recognized this limited application when it stated that the Designated Entity
         Agreement followed designations “by PJM to construct an RTEP project pursuant to
         PJM’s competitive process set forth in Schedule 6.”124 PJM further argues that the
         pro forma Designated Entity Agreement’s first “whereas” clause, which indicates that
         PJM and the counterparty are entering into the Designated Entity Agreement “in
         accordance with Order No. 1000,” and the Commission’s acceptance of this language and
         rejection of other language over protest, indicates that the Designated Entity Agreement
         was adopted to fulfill the requirements of Order No. 1000 and nothing more.125 Given
         this context, PJM contends that it could not have intended shorthand references to
         Designated Entity in sections 1.5.8(g), (h), (l), and (m)(1) to have the same meaning (and
         lead to the same Designated Entity Agreement-related requirements) as it does when the
         term is used in relation to projects that PJM considers to be within Order No. 1000’s
               122
                  PJM 206 Filing at 12 (quoting PJM, Compliance Filing of PJM
         Interconnection, L.L.C., Docket No. ER13-198-002, at 44 (filed July 22, 2013) (PJM
         Second Order No. 1000 Compliance Filing)) (emphasis deleted).
               123
                  PJM 206 Filing at 13; see also id. (quoting PJM, Compliance Filing of PJM
         Interconnection, L.L.C., Docket No. ER13-198-004, at 11 (filed July 14, 2014) (PJM
         Third Order No. 1000 Compliance Filing)); id. at 24.
               124
                 PJM 206 Filing at 13 (quoting PJM Designated Entity Agreement Order,
         148 FERC ¶ 61,187 at P 46) (emphasis deleted).
               125
                    Id. at 13-14, 24 (citations omitted). PJM also contends that to read Operating
         Agreement language that PJM filed to comply with Order No. 1000 any more broadly
         than that necessary to merely comply with Order No. 1000 would prevent a
         countervailing filed rate doctrine problem, as Operating Agreement section 18.6 limits
         PJM’s ability to propose changes to the Operating Agreement to situations “provided by
         law” or “upon . . . approval . . . by the Members Committee,” and the notice PJM
         provided at the time of its Order No. 1000 compliance filings indicated that those filings
         were limited to only complying with Order No. 1000. See PJM 206 Filing at 25-26
         (quoting PJM, Intra-PJM Tariffs, OA, 18.6 Amendment (1.0.0), § 18.6; see also PJM,
         Intra-PJM Tariffs, OA, 18.6 Amendment (1.0.0), § 18.6. PJM also contends that if PJM’s
         filed proposal went beyond the compliance directive of Order No. 1000, the Commission
         would have rejected it. PJM 206 Filing at 26-27.
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447           Filed: 12/26/2024   Page 35 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 29 -

         scope (i.e., projects chosen through PJM’s competitive proposal windows and selected in
         the RTEP for purposes of cost allocation).126

                PJM argues that, when interpreting Schedule 6, section 1.5.8,127 it is necessary to
         examine both the regulatory context in which section 1.5.8 was adopted and relevant
         extrinsic evidence because the relevant language is susceptible to multiple interpretations
         and uses the defined term “Designated Entity” even for projects that are exempt from
         PJM’s Order No. 1000-compliant competitive proposal window processes.128 PJM states
         that under the currently-effective section 1.5.8, PJM cannot implement section 1.5.8’s
         requirements without being subject to challenge either by stakeholders who believe that a
         Designated Entity Agreement is required for every project planned pursuant to
         section 1.5.8, or by incumbent transmission owners who believe that PJM should not
         issue Designated Entity Agreements for RTEP projects chosen through the competitive
         proposal window process whose costs are allocated to a single zone.129

                 PJM also argues that its course of performance in implementing Schedule 6,
         section 1.5.8’s Designated Entity Agreement-related requirements further supports PJM’s
         position.130 PJM states that from 2014, at the outset of its competitive proposal window
         processes, through February 2022, it required Designated Entity Agreements only for
         those projects that were both: (1) chosen through a competitive proposal window; and
         (2) selected in the RTEP for purposes of cost allocation.131 PJM states that during that
         time, it did not require Designated Entity Agreements for projects that it did not consider

                126
                 PJM 206 Filing at 19-20 (quoting in part PJM Third Order No. 1000
         Compliance Filing at 11, Docket No. ER13-198-004, and PJM Designated Entity
         Agreement Order, 148 FERC ¶ 61,187 at P 46).
                127
                    See, e.g., PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(g)
         (Procedures if No Long-lead Project or Economic-based Enhancement or Expansion
         Proposal is Determined to be the More Efficient or Cost-Effective Solution), id.
         § 1.5.8(h) (Procedures if No Short-term Project Proposal is Determined to be the More
         Efficient or Cost-Effective Solution), id. § 1.5.8(l) (Transmission Owners Required to be
         the Designated Entity), and id. § 1.5.8(m)(1) (Immediate-need Reliability Projects).
                128
                   PJM 206 Filing at 14-15 (citing in part Devon Power LLC v. ISO New England,
         Inc., 114 FERC ¶ 61,259, at P 24 (2006) and Colo. Interstate Gas Co., 32 FERC
         ¶ 63,033, at 65,108 (1985)).
                129
                      PJM 206 Filing at 17-18; see also id. at 15-16 & nn.50, 52.
                130
                      Id. at 28-31.
                131
                      Id. at 28.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447         Filed: 12/26/2024     Page 36 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 30 -

         to be subject to Order No. 1000’s requirements, such as PJM-chosen unsponsored
         projects under sections 1.5.8(g) or (h), Immediate-need Reliability Projects under
         section 1.5.8(m)(1), projects exempt from competitive proposal windows pursuant to
         sections 1.5.8(n) or (p), or projects chosen for inclusion in the RTEP through a
         competitive proposal window but whose costs are not regionally allocated.132

                 To address the provisions of the Operating Agreement that it argues are unjust and
         unreasonable, PJM proposes two sets of revisions. First, PJM proposes language that
         would limit the Designated Entity definition so that it applies only to projects “sponsored
         by” an incumbent transmission owner or nonincumbent transmission developer through a
         competitive proposal window as set forth in Schedule 6, section 1.5.8(c).133 Second, PJM
         proposes to replace the term “Designated Entity” in sections 1.5.8(g), (h), (l) and (m)(1),
         with other language to clarify that incumbent transmission owners would be designated to
         construct, own and/or finance projects in accordance with those sections.134 PJM
         contends that these revisions are just and reasonable because they would align the
         Operating Agreement’s language with the scope of Order No. 1000’s reforms, resolve
         ambiguities, and eliminate the possibility of conflicting interpretations.135 PJM requests
         that the Commission set a refund effective date of August 26, 2022, the date on which
         PJM submitted its filing.136

               Finally, PJM states that the PJM 206 filing is PJM’s last option to clarify
         Schedule 6, section 1.5.8’s ambiguities, which are hindering PJM’s effective
         implementation of that provision.137 PJM states that it has tried multiple times, through

                132
                    Id. at 29-30. PJM further states that Schedule 6, sections 1.5.8(n) and (p) do
         not use the term “Designated Entity” in describing that such projects will be designated to
         the incumbent transmission owners. Id. at 30. PJM states as well that these sections, and
         section 1.5.8(m)(1), differ from section 1.5.8(m)(2) on Immediate-need Reliability
         Projects in that section 1.5.8(m)(2) specifically cross-references the notification and
         acceptance of Designated Entity status provisions of section 1.5.8(i) and 1.5.8(j), while
         sections 1.5.8(n), 1.5.8(p), and 1.5.8(m)(1) do not. See id. at 19, 30.
                133
                      Id. at 31-34.
                134
                    Id. at 31-32, 34-37. PJM also proposes what it describes as clarifying language
         to Schedule 6, section 1.5.8(i) stating that the notification requirements apply only to
         projects included in the RTEP “for regional cost allocation purposes.” Id. at 37.
                135
                      Id. at 37-38.
                136
                      Id. at 38.
                137
                      Id. at 6.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447          Filed: 12/26/2024     Page 37 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 31 -

         multiple avenues, to address the ambiguous, imprecise, and overly broad usage of the
         term “Designated Entity,” including through PJM’s filing in Docket No. ER13-198-008,
         which was not accepted by the Commission on procedural grounds, and through other
         subsequent stakeholder processes.138

                                       iv.   Responsive Pleadings to PJM 206 Filing

                Joint Protestors assert that PJM’s 206 Filing fails to meet its burden to show that
         the currently-effective Schedule 6, section 1.5.8 is unjust, unreasonable, or unduly
         discriminatory.139 Joint Protestors contend that although there may be differing
         interpretations of section 1.5.8, that fact alone does not support PJM’s claim that
         section 1.5.8’s Designated Entity Agreement-related requirements are ambiguous.140
         Ambiguity, Joint Protestors argue, must be demonstrated within the four corners of the
         relevant document prior to considering extrinsic evidence, and absent ambiguity within
         the four corners of the document, resorting to extrinsic evidence is erroneous.141 Joint
         Protestors assert that the plain language of section 1.5.8 is clear and that there is no
         ambiguity to support PJM’s arguments. According to Joint Protestors, section 1.5.8
         provides that PJM “shall . . . tender to the Designated Entity an executable Designated
         Entity Agreement.”142 It was PJM’s responsibility, Joint Protestors argue, to ensure that
         the Operating Agreement language that PJM filed manifested PJM’s intent, as PJM is


                138
                  Id. at 6-7; see also 2018 DEA Order, 164 FERC ¶ 61,021; 2019 DEA
         Rehearing Order, 168 FERC ¶ 61,121; 2022 Rejection Order, 178 FERC ¶ 61,083.
                139
                   Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 1-2. Joint
         Protestors also move for leave to answer the filings made by PJM and the ITOs in Docket
         No. EL22-80-000. Id. at 2, 4-5.
                140
                      See id. at 6.
                141
                   Id. at 6 (citing Papago Tribal Util. Auth. v. FERC, 723 F.2d 950, 955 (D.C. Cir.
         1983) and Carey Can., Inc. v. Columbia Cas. Co., 940 F.2d 1548, 1556 (D.C. Cir.
         1991)); see also id. at 14-15 (arguing that a “non-compliant . . . practice” is not evidence
         of ambiguity). Joint Protestors also contend that PJM’s decision in February 2022 to
         begin issuing Designated Entity Agreements for projects subject to competitive proposal
         windows but whose costs are not regionally allocated undercuts PJM’s arguments
         regarding its implementation practices. See Joint Protest, Docket Nos. EL22-80-00 and
         EL22-85-000, at 6.
                142
                   See Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 13 (quoting
         PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j) (Acceptance of
         Designation)); see also id. at 17.
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361             Document #2091447          Filed: 12/26/2024     Page 38 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 32 -

         now bound to apply those terms.143 Joint Protestors dispute PJM’s assertions that the
         defined term “Designated Entity” is “‘shorthand for a broader concept’” or that its use is
         “‘imprecise and improper,’” and further argue that the existence of detailed procedural
         language in section 1.5.8(m)(2) does not prove anything about the absence of such
         language in section 1.5.8(m)(1).144 Regarding section 1.5.8(g) and section 1.5.8(h), Joint
         Protestors assert that there is “nothing inaccurate about . . . purposefully us[ing] the term
         ‘Designated Entity’” in the language of those provisions.145

                Joint Protestors also argue that because the Commission has found that the
         currently-effective Schedule 6, section 1.5.8 is just, reasonable, and not unduly
         discriminatory, PJM is required to comply with its terms, and PJM’s arguments about the
         scope of Order No. 1000’s reforms amount to a collateral attack on prior orders.146 Joint
         Protestors further argue that in the Order No. 1000 compliance process, parties were on
         notice that PJM’s proposals may be “superior to” Order No. 1000’s minimum
         requirements. Thus, contrary to PJM’s arguments,147 Joint Protestors argue that neither
         the Commission’s acceptance of the terms in PJM’s proposals nor the Commission’s
         enforcement of their plain language presents filed rate doctrine concerns. According to
         Joint Protestors, any concerns that PJM has about its filing rights as to those proceedings
         are therefore waived.148 In addition, Joint Protestors assert that PJM’s conception of
         Order No. 1000 transmission planning is too narrow, and that Order No. 1000 governs
         both projects that are selected through a competitive proposal window and those that are
         not.149 Joint Protestors further argue that section 1.5.8 explicitly contemplates the
         possibility that identified solutions to regional transmission needs may be eligible for
         regional cost allocation despite not having been subject to a competitive proposal
         window.150



                143
                      See Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 14.
                144
                      See id. at 7.
                145
                      See id. at 20.
                146
                      See id. at 5, 10-11, 12, 14-15.
                147
                      See supra note 126.
                148
                      See Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 12.
                149
                      Id. at 15-17.
                150
                      Id. at 15-16.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024     Page 39 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 33 -

                 Data Center Coalition argues that under Schedule 6, entities designated to
         construct, own, and operate any Immediate-need Reliability Projects are unambiguously
         included within the Designated Entity definition.151 Data Center Coalition also contends
         that, but for the immediate need designation, Immediate-need Reliability Projects
         addressed in Schedule 6, section 1.5.8(m)(1) would be subject to a competitive proposal
         window (and therefore a Designated Entity Agreement, by extension), a fact that supports
         applying Designated Entity Agreement requirements to such projects.152 Data Center
         Coalition argues that PJM has not provided any reason to look beyond the Operating
         Agreement’s express language in determining the proper scope of Designated Entity
         Agreement requirements and that, even if the Commission finds that language to be
         ambiguous, the importance of project construction milestones is a good reason to impose
         Designated Entity Agreement-related requirements on Immediate-need Reliability
         Projects.153

                ITOs agree with PJM that the currently-effective Schedule 6, section 1.5.8 is
         imprecise, and therefore unjust and unreasonable. In turn, ITOs request that the
         Commission grant PJM’s 206 Filing as submitted, without hearing, modification, or
         condition.154

                 In its Second Answer, PJM contends that, contrary to Joint Protestors’ assertions,
         it has demonstrated that references to the terms “Designated Entity” and “Designated
         Entity Agreement” in Schedule 6, section 1.5.8 were imprecisely drafted and that,
         following precedent, the Commission should resolve ambiguities by looking to past



                151
                  Data Center Coalition Comments on PJM 206 Filing, Docket
         No. EL22-85-000, at 1 (citing PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5. (28.0.0),
         § 1.5.8(m)(1) (Immediate-need Reliability Projects)); see also id. at 4 (quoting definition
         of Designated Entity).
                152
                    See Data Center Coalition Comments on PJM 206 Filing, Docket
         No. EL22-85-000, at 3-6. For similar reasons related to competition between incumbent
         transmission owners and nonincumbent transmission developers, Data Center Coalition
         also disputes that imposing security requirements on all developers of Immediate-need
         Reliability Projects would lead to unjust or unreasonable results. See id. at 6-7 (citing
         PJM 206 Filing at 21-23).
                153
                 Data Center Coalition Comments on PJM 206 Filing, Docket
         No. EL22-85-000, at 2, 4-5.
                154
                      ITOs Comments on PJM 206 Filing, Docket No. EL22-85-000, at 2, 12-14,
         18-19).
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447           Filed: 12/26/2024    Page 40 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                            - 34 -

         Order No. 1000 compliance proceedings.155 Regarding its past invocations of the
         consistent with or superior to standard recognized by the Commission in Order No. 1000,
         PJM argues that it did not seek any deviation from Order No. 1000’s requirements, nor
         did it intend to amend the Operating Agreement in any manner beyond what was required
         to satisfy Order No. 1000.

                             b.     Commission Determination

                As discussed further below, we find that the Operating Agreement is not
         ambiguous as to when and for what RTEP projects Designated Entity Agreements are
         required and therefore is not unjust and unreasonable. We further find that PJM has
         violated the Operating Agreement because PJM has not executed Designated Entity
         Agreements in all situations required by the Operating Agreement. Accordingly, as
         discussed below, we grant the Complaint, in part, and deny the Complaint, in part. We
         also grant the PJM 206 Filing, in part, and deny the PJM 206 Filing, in part.

                                    i.    Immediate-need Reliability Projects, Short-term
                                          Projects, and Long-lead Projects

                We agree with the Complainant’s interpretation that the Operating Agreement
         requires an incumbent transmission owner to sign a Designated Entity Agreement for all
         projects for which an incumbent transmission owner is the Designated Entity. The
         Operating Agreement explains when Designated Entity Agreements are required for
         RTEP projects subject to Schedule 6, section 1.5.8. First, the Operating Agreement
         defines “Designated Entity” as follows:

                      “Designated Entity” shall mean an entity, including an
                      existing Transmission Owner or Nonincumbent Developer,
                      designated by the Office of the Interconnection with the
                      responsibility to construct, own, operate, maintain, and
                      finance Immediate-need Reliability Projects, Short-term
                      Projects, Long-lead Projects, or Economic-based
                      Enhancements or Expansions pursuant to Operating
                      Agreement, Schedule 6, section 1.5.8.156


               155
                    PJM Second Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 3-5,
         8-10) (citing PJM Interconnection, L.L.C., 156 FERC ¶ 61,030, at P 24 (2016), order
         denying reh’g and accepting compliance filing, 157 FERC ¶ 61,193, vacated on other
         grounds by Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254 (D.C. Cir. 2018)).
               156
                    PJM, Intra-PJM Tariffs, OA, Definitions (C - D), OA Definitions C – D
         (32.0.0) (emphasis added).
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447             Filed: 12/26/2024      Page 41 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                  - 35 -

         This definition includes both incumbent transmission owners and nonincumbent
         transmission developers who are designated by PJM with the responsibility to construct,
         own, operate, maintain, and finance projects pursuant to section 1.5.8.157

                 Second, Schedule 6, section 1.5.8 instructs PJM to identify “Designated Entities”
         for the following types of RTEP projects:

                           (f)    Entity-Specific Criteria Considered in Determining
                           the Designated Entity for a Project. In determining
                           whether the entity proposing a Short-term Project, Long-lead
                           Project or Economic-based Enhancement or Expansion
                           recommended for inclusion in the plan shall be the
                           Designated Entity, [PJM] shall consider. . .

                           (g)     Procedures if No Long-lead Project or Economic-
                           based Enhancement or Expansion Proposal is Determined
                           to be the More Efficient or Cost-Effective Solution. . . .
                           The Transmission Owner(s) in the Zone(s) where the project
                           is to be located shall be the Designated Entity(ies) for such
                           project. . . .

                           (h)    Procedures if No Short-term Project Proposal is
                           Determined to be the More Efficient or Cost-Effective
                           Solution. . . . The Transmission Owner(s) in the Zone(s)
                           where the Short-term Project is to be located shall be the
                           Designated Entity(ies) for the Project. . . .

                           (l)    Transmission Owners Required to be the
                           Designated Entity. . . . the Transmission Owner(s) in whose
                           Zone(s) a project proposed pursuant to the Operating
                           Agreement, Schedule 6, section 1.5.8(c) is to be located will
                           be the Designated Entity for the project, when the Short-term
                           Project or Long-lead Project is [one of five types] . . .

                           (m)   Immediate-need Reliability Projects:

                           (m)(1) . . . The descriptions shall include an explanation of
                           the decision to designate the Transmission Owner as the
                           Designated Entity for the Immediate-need Reliability Project
                           rather than conducting a proposal window . . .



               157
                     Id.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447              Filed: 12/26/2024       Page 42 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 36 -

                       (m)(2) . . . After PJM Board approval, [PJM], in accordance
                       with . . . section 1.5.8(i), shall notify the entities that have
                       been designated as Designated Entities for Immediate-need
                       Projects included in the Regional Transmission Expansion
                       Plan of such designations. Designated Entities shall accept
                       such designations in accordance with the Operating
                       Agreement, Schedule 6, section 1.5.8(j).158

         We find that these provisions require PJM to choose a “Designated Entity” for every
         Long-lead Project, Short-term Project, or Immediate-need Reliability Project. Moreover,
         we find that nothing in the text of these provisions limits their applicability to only a
         subset of projects within each type.

                 Finally, the Operating Agreement requires PJM to notify Designated Entities of
         their designation and requires Designated Entities to maintain their Designated Entity
         status, to execute a Designated Entity Agreement, and to submit a letter of credit.

                       (i)    Notification of Designated Entity. Within
                       15 Business Days of PJM Board approval of the Regional
                       Transmission Expansion Plan, the Office of the
                       Interconnection shall notify the entities that have been
                       designated as the Designated Entities for projects included in
                       the Regional Transmission Expansion Plan of such
                       designations.

                       ...

                       (j)     Acceptance of Designation. Within 30 days of
                       receiving notification of its designation as a Designated
                       Entity, the existing Transmission Owner or Nonincumbent
                       Developer shall notify the Office of the Interconnection of its
                       acceptance of such designation.

                       ...

                       To retain its status as a Designated Entity, within 60 days of
                       receiving an executable Designated Entity Agreement (or
                       other such period as mutually agreed upon by the Office of
                       the Interconnection and the Designated Entity), the
                       Designated Entity (both existing Transmission Owners and

                158
                    PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), §§ 1.5.8(f), (g), (h),
         (l), (m) (emphasis added).
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024       Page 43 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 37 -

                        Nonincumbent Developers) shall submit to the Office of the
                        Interconnection a letter of credit as determined by the Office
                        of Interconnection to cover the incremental costs of
                        construction resulting from reassignment of the project, and
                        return to the Office of the Interconnection an executed
                        Designated Entity Agreement containing a mutually agreed
                        upon development schedule.159

         Contrary to PJM’s claims, we find that the Operating Agreement does not support PJM’s
         argument that the requirement to sign a Designated Entity Agreement and submit a letter
         of credit is dependent on whether PJM chooses a transmission project through a
         competitive proposal window, or whether the transmission project is selected in the
         regional transmission plan for purposes of cost allocation.160 In short, where Schedule 6,
         section 1.5.8 uses the term “Designated Entity,” the relevant “Designated Entity(ies)”
         must sign a Designated Entity Agreement and provide security under section 1.5.8(j).161

                 Importantly, we find that Schedule 6, section 1.5.8 of the Operating Agreement is
         clear in its use of the term “Designated Entity.” In each instance referenced above, the
         term “Designated Entity” refers to the entity designated by PJM with the responsibility to
         construct, own, operate, maintain, and finance a transmission project, whether that
         transmission project is a PJM-chosen sponsored project or PJM-chosen unsponsored
         project (i.e., a Short-term Project, Long-lead Project, Economic-based Enhancement or
         Expansion, or Immediate-need Reliability Project).162 While PJM is correct that not all
         projects planned in accordance with section 1.5.8 go through a competitive proposal
         window process, and that not all projects that go through a competitive proposal window




               159
                    PJM, Intra-PJM Tariffs, OA, OA Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(i)
         (Notification of Designated Entity) (emphasis added); id. § 1.5.8(j) (Acceptance of
         Designation) (emphasis added).
               160
                     See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(c)
         (Project Proposal Windows); id. § 1.5.8(f) (Entity-Specific Criteria Considered in
         Determining the Designated Entity for a Project).
               161
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j)
         (Acceptance of Designation).
               162
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(c) (Project
         Proposal Windows); id. § 1.5.8(f) (Entity-Specific Criteria Considered in Determining the
         Designated Entity for a Project); id. § 1.5.8(m)(2) (Immediate-need Reliability Projects).
Document Accession #: 20240725-3020              Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447             Filed: 12/26/2024     Page 44 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 38 -

         process are selected in the regional transmission plan for purposes of cost allocation,163
         those facts do not determine whether the Operating Agreement requires PJM and the
         relevant Designated Entity to execute a Designated Entity Agreement—instead, it is
         designation as a Designated Entity that matters.164 That is, the term “Designated Entity”
         is used with respect to both projects that PJM chooses through a competitive proposal
         window under section 1.5.8(c), whether or not those projects are selected in the regional
         transmission plan for purposes of cost allocation, and projects that PJM chooses outside
         of a competitive proposal window, designating the project directly to the incumbent
         transmission owner.165 We thus disagree with PJM’s assertion that the term “Designated
         Entity” in sections 1.5.8(g), (h), (l) and (m)(1) of the Operating Agreement is
         “improperly being used as shorthand for the broader concept of the entity responsible for
         constructing RTEP projects.”166

                Further, as discussed, for each type of project noted above, where the governing
         Operating Agreement provision explicitly uses the term “Designated Entity,” Schedule 6
         also prescribes a detailed process that requires PJM to notify the Designated Entity of its
         designation and then requires PJM and the Designated Entity to execute a Designated
         Entity Agreement involving the provision of security.167

                We disagree with PJM and the ITOs that the reference in Schedule 6,
         section 1.5.8(m)(2) to section 1.5.8(j) should be read to exempt the developers of certain
         types of RTEP projects from the process outlined in section 1.5.8(j).168 Instead, we find

                163
                 See PJM Second Answer, Docket No. EL22-80-000 and EL22-85-000, at 2-3;
         PJM 206 Filing at 3, 10-11, 18.
                164
                 See supra PP 62-65; see also Joint Protest, Docket Nos. EL22-80-00 and
         EL22-85-000, at 15-17.
                165
                    PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(g)
         (Procedures if No Long-lead Project or Economic-based Enhancement or Expansion
         Proposal is Determined to be the More Efficient or Cost-Effective Solution); id.
         § 1.5.8(h) (Procedures if No Short-term Project Proposal is Determined to be the More
         Efficient or Cost-Effective Solution).
                166
                    See PJM Answer to Complaint, Docket No. EL22-80-000, at 7-10; PJM 206
         Filing at 18.
                167
                      PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(i)-(j).
                168
                     See ITOs Comments on Complaint, Docket No. EL22-80-000, at 16-17; ITOs
         Comments on PJM 206 Filing at 13-14; PJM 206 Filing at 19. The relevant language
         states, “[i]f, in the judgment of the Office of the Interconnection, there is sufficient time
         for the Office of the Interconnection to accept proposals in a shortened proposal window
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447            Filed: 12/26/2024    Page 45 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 39 -

         that the reference to section 1.5.8(j) in section 1.5.8(m)(2) is to make clear which
         provisions of section 1.5.8 apply to “a shortened proposal window for Immediate-need
         Reliability Projects,” if one is held.169 This clarification is necessary because shortened
         proposal windows differ from the competitive proposal window process outlined under
         section 1.5.8(c). Thus, we agree with Joint Protestors and find that PJM is incorrect in its
         assertion that this reference in section 1.5.8(m)(2) implies that projects subject to
         section 1.5.8(m)(1) (i.e., Immediate-need Reliability Projects where it is not feasible to
         open a full or shortened competitive proposal window) are not subject to the requirement
         to execute a Designated Entity Agreement and post the required security.170

                 We also do not find merit in PJM’s argument that Complainants’ interpretation of
         the Operating Agreement violates the filed rate doctrine. PJM argues that section 18.6 of
         the Operating Agreement imposes limits on PJM such that, on compliance with Order
         No. 1000, PJM could amend the Operating Agreement, but only as far as Order No. 1000
         specifically required.171 That is, PJM contends that it “cannot have added provisions to
         the Operating Agreement beyond what was necessary to comply with Order
         No. 1000.”172 PJM’s argument reflects a misunderstanding of both section 18.6 of the
         Operating Agreement and the nature of PJM’s Order No. 1000 compliance proposals.
         First, as PJM acknowledges, section 18.6 of the Operating Agreement permits changes
         that are “provided by law,”173 which includes changes added “by order of the

         for Immediate-need Reliability Projects, the Office of the Interconnection shall post on
         the PJM website the violations and system conditions that could be addressed by
         Immediate-need Reliability Project proposals . . . After PJM Board approval, the Office
         of the Interconnection . . . shall notify the entities that have been designated as
         Designated Entities for Immediate-need Projects included in the Regional Transmission
         Expansion Plan of such designations. Designated Entities shall accept such designations
         in accordance with the Operating Agreement, Schedule 6, section 1.5.8(j).” PJM,
         Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(m)(2) (Immediate-need
         Reliability Projects) (emphasis added).
                169
                      See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(m)(2).
                170
                      See Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 7.
                171
                      PJM Answer to Complaint, Docket No. EL22-80-000, at 17-21; PJM 206 Filing
         at 25-27.
                172
                    PJM Answer to Complaint, Docket No. EL22-80-000, at 20; see also PJM 206
         Filing at 25.
                173
                   See PJM 206 Filing at 25-26 & n.75 (contending that under PJM, Intra-PJM
         Tariffs, OA, 18.6 Amendment (1.0.0), § 18.6, PJM’s authority to amend the Operating
         Agreement is “limited to only that directed by law or by the Members Committee”); see
Document Accession #: 20240725-3020              Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447           Filed: 12/26/2024       Page 46 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 40 -

         Commission”174 pursuant to FPA section 206. Second, we note that PJM sought approval
         of its Order No. 1000-compliant Schedule 6 processes under the “‘consistent with or
         superior to’ standard,”175 as permitted by the Commission.176 Because PJM sought the
         relevant changes to its Operating Agreement in order to comply with Order No. 1000 and
         on compliance pursuant to FPA section 206, we find that the process for making such
         changes was “provided by law,” as recognized by (and consistent with) section 18.6 of
         the Operating Agreement,177 such that there is no filed rate doctrine concern here that
         limits PJM’s need to comply with the Commission-approved terms of its Operating
         Agreement. Rather, PJM filed an Order No. 1000-compliant regional transmission
         planning process, which the Commission accepted. To the extent that PJM now believes
         that portions of its compliance proposals were “superior to” Order No. 1000’s minimum
         requirements, that does not implicate their current effectiveness. PJM proposed to
         require that “both incumbent transmission owners and nonincumbent transmission
         developers . . . be subject to the Designated Entity Agreement,” and the Commission
         accepted that approach as consistent with or superior to Order No. 1000’s
         requirements.178 As the Commission has explained, PJM’s Order No. 1000 compliance



         also PJM, Intra-PJM Tariffs, OA, 18.6 Amendment (1.0.0), § 18.6 (providing, in part,
         that the Operating Agreement may be amended “as provided by law”).
                  174
                        PJM Answer to Complaint, Docket No. EL22-80-000, at 17-18; PJM 206 Filing
         at 25.
                  175
                   See PJM Answer to Complaint, Docket No. EL22-80-000, at 18 (quoting PJM
         First Order No. 1000 Compliance Filing at 2-3); PJM 206 Filing at 10, 24 & n.70 (same).
                  176
                   See PJM First Compliance Order, 142 FERC ¶ 61,214 at PP 112, 114 (citing, in
         part, Order No. 1000, 136 FERC ¶ 61,051 at PP 149, 216 & n.193); see also 18 C.F.R.
         § 35.28(c)(4) (2023); 2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at P 8 (citing
         (2018 DEA Order, 164 FERC ¶ 61,021 at P 28) (explaining that “as part of the Order
         No. 1000 compliance proceedings, the Commission requires public utility transmission
         providers that proposed to use pro forma development agreements, such as PJM’s
         Designated Entity Agreement, to file such agreements for the Commission’s review.”).
                  177
                        See PJM, Intra-PJM Tariffs, OA, 18.6 Amendment (1.0.0), § 18.6.
                  178
                   2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at P 8 (citing PJM First
         Compliance Order, 142 FERC ¶ 61,214 at P 280); see also PJM Designated Entity
         Agreement Order, 148 FERC ¶ 61,187 at PP 46-47 (stating that, although incumbent
         transmission owners are signatories of the Consolidated Transmission Owners
         Agreement, acceptance of the Designated Entity Agreement was based on the Designated
         Entity Agreement applying in full to all Designated Entities, whether an incumbent
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447           Filed: 12/26/2024     Page 47 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 41 -

         process was completed as of 2015; at that time, the “accepted tariff revisions, including
         the definition of Designated Entity, became the rate in effect.”179 Unless and until
         changed through a proceeding where the requisite evidentiary burdens are met,180 PJM
         must abide by the currently-effective and Commission-approved terms of the Operating
         Agreement, terms that it proposed and the Commission accepted as consistent with or
         superior to Order No. 1000’s requirements.

                Lastly, we do not consider or rely on PJM’s “extrinsic evidence” to determine the
         meaning of section 1.5.8.181 PJM contends that several statements in its Order No. 1000
         compliance filings provide evidence that Designated Entity Agreement requirements
         apply only to projects that are selected in a competitive proposal window, not to all
         projects planned under Schedule 6, section 1.5.8.182 PJM likewise points to the
         “regulatory context” of these filings, explaining that Order No. 1000’s “focus” was on
         transmission facilities “selected in the regional transmission plan for purposes of cost
         allocation,”183 that the Commission once described Designated Entity Agreements as a
         product of PJM’s competitive proposal window process,184 and that the pro forma
         Designated Entity Agreement’s first “whereas” clause reflects that PJM and the




         transmission owner or a nonincumbent transmission developer, that are designated an
         RTEP project).
                179
                      2022 Rejection Order, 178 FERC ¶ 61,083 at P 26.
                180
                      See id. PP 26-27.
                181
                   Papago Tribal Util. Auth. v. FERC, 723 F.2d 950, 955 (D.C. Cir. 1983)
         (affirming refusal to consider extrinsic evidence where Commission found that contract
         language is not reasonably susceptible to the interpretation offered by the offeror of the
         evidence); Iberdrola Renewables, Inc. v. FERC, 597 F.3d 1299, 1304 (D.C. Cir. 2010)
         (same).
                182
                      See PJM 206 Filing at 24-27.
                183
                      See id. at 24 & n.71 (quoting Order No. 1000, 136 FERC ¶ 61,051 at P 318).
                184
                   See id. at 24 & n.73; see also PJM Designated Entity Agreement Order,
         148 FERC ¶ 61,187 at P 46 (“[T]he Designated Entity Agreement defines the rights and
         obligations of all Designated Entities that are designated by PJM to construct an RTEP
         project pursuant to PJM’s competitive process set forth in Schedule 6[.]” (emphasis
         modified)).
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024     Page 48 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 42 -

         counterparty are entering into the agreement “in accordance with Order No. 1000.”185
         But if the Operating Agreement “is not ambiguous, extrinsic evidence cannot be used as
         an aid to interpretation.”186 Because we find, as discussed above, that section 1.5.8 is not
         ambiguous in describing when Designated Entity Agreement requirements apply, we do
         not consider or rely on PJM’s “extrinsic evidence.”

                 Therefore, with two exceptions, discussed next, we grant the Complaint. We find
         that the currently effective Operating Agreement requires that incumbent transmission
         owners designated as Designated Entities by PJM to construct Immediate-need
         Reliability Projects, Short-term Projects, and Long-lead Projects and Economic Based
         Enhancements or Expansions sign a Designated Entity Agreement and provide security to
         PJM. To the extent that PJM has not executed Designated Entity Agreements in all
         situations required by the Operating Agreement, as detailed in this order, we find that
         PJM has violated the Operating Agreement’s requirements. As discussed in more detail
         below, we are establishing a paper hearing proceeding to develop a record on which to
         determine what, if any, remedial actions are required or appropriate to address these
         Operating Agreement violations. Going forward, for all RTEP projects that, per this
         order’s clarifications, require a Designated Entity Agreement when the PJM Board
         designates a Designated Entity, PJM must, pursuant to section 1.5.8(i), notify the entity
         that has been designated as the Designated Entity within 15 business days of the PJM
         Board’s approval of the RTEP, and include in such notice the needed in-service date of
         the project and a date by which all necessary state approvals should be obtained to meet
         that in-service date.187 Then, after the entity designated by PJM accepts its Designated
         Entity designation and submits to PJM a proposed development schedule that includes
         development milestones, PJM must, pursuant to section 1.5.8(j): (1) notify the
         Designated Entity of any issues with that development schedule; and (2) tender to the
         Designated Entity an executable Designated Entity Agreement setting forth the rights and
         obligations of the parties.188




                185
                 See PJM 206 Filing at 13-14 (citing PJM, Intra-PJM Tariffs, OATT
         Attachment KK (0.1.0) (Form of Designated Entity Agreement)).
                186
                   Consol. Gas Transmission Corp. v. FERC, 771 F.2d 1536, 1544
         (D.C.Cir.1985).
                187
                    See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(i)
         (Notification of Designated Entity).
                188
                  See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j)
         (Acceptance of Designation).
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447               Filed: 12/26/2024         Page 49 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                    - 43 -

                                     ii.     Reliability Violations on Transmission Facilities
                                             Below 200 kV and Thermal Reliability Violations
                                             on Transmission Substation Equipment

               We deny the Complaint as it pertains to two specific types of projects, governed
         by Schedule 6, section 1.5.8(n) and section 1.5.8(p), respectively. In these two
         circumstances, we agree with ITOs and PJM’s argument189 and find that the Operating
         Agreement does not require PJM to execute a Designated Entity Agreement.190

                 Specifically, Schedule 6, section 1.5.8(n) (Reliability Violations on Transmission
         Facilities Below 200 kV) and section 1.5.8(p) (Thermal Reliability Violations on
         Transmission Substation Equipment) do not use the term “Designated Entity.”

                       (n)     Reliability Violations on Transmission Facilities
                       Below 200 kV. . . . If the Office of the Interconnection
                       determines that the identified reliability violations do not
                       satisfy [one] of . . . two [specified] exceptions . . ., the Office
                       of the Interconnection shall develop a solution to address the
                       reliability violation on below 200 kV Transmission Facilities
                       that will not be included in a proposal window pursuant to the
                       Operating Agreement, Schedule 6, section 1.5.8(c).

                       ...

                       The descriptions shall include an explanation of the decision
                       to not include the below 200 kV reliability violation(s) in
                       Operating Agreement, Schedule 6, section 1.5.8(c) proposal
                       window, a description of the facility on which the violation(s)
                       is found, the Zone in which the facility is located, and notice

                189
                See ITOs Comments on Complaint, Docket No. EL22-80-000, at 17; ITOs
         Comments on PJM 206 Filing, Docket No. EL22-85-000, at 14; PJM 206 Filing at 30.
                190
                    Complaint at 1-3 (contending that PJM’s alleged failure to execute a
         Designated Entity Agreement with the Designated Entity “for each Regionally Planned
         Project” or “for all Regionally Planned Projects” violates the PJM Operating Agreement).
         Although “Regionally Planned Projects” is not a term used in section 1.5.8, we
         understand the Complaint to argue that Designated Entity Agreements are required for all
         projects approved pursuant to section 1.5.8, including all Long-lead Projects, Short-term
         Projects, and Immediate-need Reliability Projects, whether or not they are proposed
         through a competitive proposal window and whether or not they are included in the
         RTEP for purposes of cost allocation. See Complaint at 2 nn.3, 9; see also PJM 206
         Filing at 4, 16 & n.9.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447            Filed: 12/26/2024        Page 50 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 44 -

                      that such construction responsibility for and ownership of the
                      project that resolves such below 200 kV reliability violation
                      will be designated to the incumbent Transmission
                      Owner . . . .191

                      (p)     Thermal Reliability Violations on Transmission
                      Substation Equipment. . . . If the Office of the
                      Interconnection determines that the identified thermal
                      reliability violations satisfy the above exemption to the
                      proposal window process, the Office of the Interconnection
                      shall post on the PJM website for review and comment by the
                      Transmission Expansion Advisory Committee and other
                      stakeholders descriptions of the transmission substation
                      equipment thermal reliability violations that will not be
                      included in a proposal window pursuant to Operating
                      Agreement, Schedule 6, section 1.5.8(c). The descriptions
                      shall include an explanation of the decision to not include the
                      transmission substation equipment thermal reliability
                      violation(s) in Operating Agreement, Schedule 6,
                      section 1.5.8(c) proposal window, a description of the facility
                      on which the thermal violation(s) is found, the Zone in which
                      the facility is located, and notice that such construction
                      responsibility for and ownership of the project that resolves
                      such transmission substation equipment thermal violations
                      will be designated to the incumbent Transmission
                      Owner . . . .192

                We find that the absence of the defined term Designated Entity is important in
         interpreting these provisions. Instead of using that term, these provisions, as noted
         above, state that the referenced projects “will be designated to the incumbent
         Transmission Owner” when not subject to a competitive proposal window.193 As such,


               191
                    PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(n)
         (Reliability Violations on Transmission Facilities Below 200 kV).
               192
                    PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8 (p) (Thermal
         Reliability Violations on Transmission Substation Equipment).
               193
                    See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(n)
         (Reliability Violations on Transmission Facilities Below 200 kV); id. §1.5.8(p) (Thermal
         Reliability Violations on Transmission Substation Equipment). These provisions were
         added in 2016 and 2017 after the last Commission order on PJM’s Order No. 1000
         compliance filings. Compare PJM Interconnection, L.L.C., 156 FERC ¶ 61,132,
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447              Filed: 12/26/2024     Page 51 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                  - 45 -

         for transmission projects planned pursuant to section 1.5.8 that address reliability
         violations on transmission facilities below 200 kV and/or thermal reliability violations on
         transmission substation equipment, as detailed in section 1.5.8(n) and (p), respectively,
         and for which no competitive proposal window is opened, there is no Designated Entity.
         And because there is no Designated Entity in these instances, the notification of
         designation and acceptance of designation requirements in sections 1.5.8(i) and 1.5.8(j),
         which use the term Designated Entity, do not apply. Therefore, a Designated Entity
         Agreement need not be executed, and Designated Entity Agreement-related security need
         not be provided under Schedule 6, sections 1.5.8(n) and (p).

                We thus agree with PJM’s argument that it is notable that PJM did not use the
         term “Designated Entity” in proposing the language that became Schedule 6,
         section 1.5.8(n) and section 1.5.8(p).194 But we note that this fact also reinforces our
         conclusion above that section 1.5.8 requires Designated Entity Agreements to be signed
         for RTEP projects for which a Designated Entity has been identified. In other words, we
         agree with PJM that the fact that the Operating Agreement does not use the defined term
         “Designated Entity” in section 1.5.8(n) and section 1.5.8(p) is a meaningful variation,
         from which we infer that the Operating Agreement’s use of the defined term “Designated
         Entity” in other sections, such as section 1.5.8(g), is deliberate.195 This textual distinction
         helps to explain why other sections of Schedule 6, such as section 1.6(b) and
         section 1.7(c), distinguish between Transmission Owner(s) and Designated Entities, as in
         some instances there is a meaningful difference between the terms.196

               In sum, we deny the Complaint as it relates to transmission projects planned
         pursuant to Operating Agreement Schedule 6, section 1.5.8 for which: (1) no competitive

         at PP 33-42 (2016) (regarding section 1.5.8(n)), and PJM Interconnection, L.L.C., Docket
         No. ER17-1619-001 (Oct. 11, 2017) (delegated order) (regarding section 1.5.8(p)), with
         PJM Interconnection, L.L.C., 151 FERC ¶ 61,250 (2015) (Fourth PJM Compliance
         Order), and 2022 DEA Rejection Order, 178 FERC ¶ 61,083 at P 2 & n.2.
                194
                  PJM 206 Filing at 30; see also ITOs Comments on Complaint, Docket
         No. EL22-80-000, at 17 (arguing that because section 1.5.8(n) and section 1.5.8(p) “do
         not even mention the term ‘Designated Entity’ at all,” that omission must have meaning).
                195
                    See Segar v. Muksaey, 508 F.3d 16, 22 (D.C. Cir. 2007) (aiming to interpret all
         parts of a contract together) (citations omitted); Manti Holdings, LLC v. Authentix
         Acquisition Co., Inc., 261 A.3d 1199, 1208 (Del. 2021) (same).
                196
                   See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.6 (4.0.0), § 1.6(b) (Approval
         of the Final Regional Transmission Expansion Plan); PJM, Intra-PJM Tariffs, OA,
         Schedule 6 Sec 1.7 (3.0.0), § 1.7(c) (Obligation to Build); see also ITOs Comments on
         Complaint, Docket No. EL22-80-000, at 17-18.
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447            Filed: 12/26/2024    Page 52 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 46 -

         proposal window is opened; and (2) the transmission project addresses reliability
         violations on transmission facilities below 200 kV and/or thermal reliability violations on
         transmission substation equipment. In these limited circumstances, we find that the
         Operating Agreement does not require that the incumbent transmission owner to whom
         the project is designated execute a Designated Entity Agreement with PJM.

                         2.     PJM 206 Filing

                                a.     PJM’s Contention that the Operating Agreement is
                                       Unjust and Unreasonable Because it is Overly Broad and
                                       Imprecise

                 We now turn to the PJM 206 Filing. In the PJM 206 Filing, PJM argues that the
         “Designated Entity” definition and Schedule 6, section 1.5.8 of the Operating Agreement
         are unjust and unreasonable because their use of the term “Designated Entity” is overly
         broad and imprecise.197 Having found, however, that the relevant provisions of the
         Operating Agreement are clear, we disagree with PJM’s assertions that the language in
         the “Designated Entity” definition and Schedule 6, section 1.5.8 is so broad, imprecise, or
         vague that it creates reasonable confusion about when Designated Entity Agreements are
         required. To the extent that PJM repeats arguments in the PJM 206 Filing that PJM made
         in either of its answers to the Complaint, we have addressed those arguments above and
         will not repeat those responses a second time here.

                                b.     Whether Imposing Security Requirements for
                                       Unsponsored Projects Included in PJM’s RTEP is Unjust,
                                       Unreasonable, or Unduly Discriminatory or Preferential

                As relevant here, PJM’s governing documents impose two relevant security
         requirements on projects designated to a Designated Entity. First, Schedule 6,
         section 1.5.8(j) of the Operating Agreement requires that, to retain its status as a
         Designated Entity, within 60 days of receiving an executable Designated Entity
         Agreement (or other such period as mutually agreed upon by PJM and the Designated
         Entity), the Designated Entity (both existing transmission owners and nonincumbent
         transmission developers) shall submit to PJM a letter of credit as determined by PJM to
         cover the incremental costs of construction resulting from reassignment of the project.198
         Second, section 3.0 of PJM’s pro forma Designated Entity Agreement states that, in
         accordance with Schedule 6, section 1.5.8(j), the Designated Entity shall provide and


                197
                      PJM 206 Filing at 1.
                198
                      PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j)
         (Acceptance of Designation).
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447          Filed: 12/26/2024     Page 53 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 47 -

         maintain a letter of credit in the amount of 3% of the estimated cost of the project.199 We
         refer to these requirements together as the Designated Entity Agreement-related security
         requirements.

                 In the PJM 206 Filing, PJM argues that interpreting the Operating Agreement to
         apply the Designated Entity Agreement-related security requirements to all projects
         governed by section 1.5.8 is unjust, unreasonable, or unduly discriminatory because it
         would increase costs without sufficient offsetting benefit.200 We find, as discussed
         below, that PJM has demonstrated that its existing Operating Agreement is unjust and
         unreasonable with respect to the requirement for incumbent transmission owners to
         provide Designated Entity Agreement-related security in two specific circumstances:
         (1) for PJM chosen-unsponsored projects, and (2) for projects, designated to an
         incumbent transmission owner or to more than one incumbent transmission owner, that
         were chosen through a competitive proposal window during which no nonincumbent
         transmission developer submitted a competing proposal. For purposes of this order, we
         refer to this second set of projects as “incumbent-proposal only projects.” Our finding
         with respect to these two circumstances is limited to Designated Entity
         Agreement-related security requirements. That is, we do not agree with PJM that the
         incumbent transmission owner in these circumstances should be exempted from the
         requirement to execute a Designated Entity Agreement containing appropriate terms and
         conditions.

                 Except for these two circumstances noted above, we find that it is just and
         reasonable for PJM to require Designated Entity Agreement-related security for projects
         designated to incumbent transmission owners; this includes, as discussed below,
         PJM-chosen sponsored projects that PJM designates to an incumbent transmission owner
         after a competitive proposal window closes because PJM’s regional cost allocation
         method allocates that project’s costs entirely to the incumbent transmission owner’s zone.

                Below, we summarize arguments in the Complaint, PJM 206 Filing, and
         responsive pleadings in both dockets that address whether it is unjust, unreasonable, or
         unduly discriminatory or preferential to impose Designated Entity Agreement-related
         security requirements on PJM-chosen unsponsored projects and incumbent-proposal only
         projects. We first summarize arguments that oppose imposing those security
         requirements, and then summarize arguments that support imposing those security
         requirements.



                199
                  PJM, Intra-PJM Tariffs, OATT Attachment KK (0.1.0) (Form of Designated
         Entity Agreement).
                200
                      PJM 206 Filing at 21.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024    Page 54 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                              - 48 -

                                      i.     Arguments Opposing Designated Entity
                                             Agreement-related Security Requirements for
                                             PJM-chosen Unsponsored Projects

                PJM contends that even if the Operating Agreement requires Designated Entity
         Agreements for all RTEP projects planned under Schedule 6, section 1.5.8,201 such an
         expansive use of Designated Entity Agreements would be unjust and unreasonable, and
         exceeds the scope of Order No. 1000’s reforms.202 In particular, PJM contends that such
         a broad requirement would increase costs to PJM load due to the Designated Entity
         Agreement-related security requirements, without providing sufficient offsetting
         benefits.203

                PJM also argues that imposing Designated Entity Agreement requirements on all
         RTEP projects would not provide consumer protections, as some commenters contend,
         and that in any event, this proceeding is not an appropriate forum for expanding
         Designated Entity Agreement requirements beyond the scope of Order No. 1000’s
         reforms.204

                PJM asserts that a Designated Entity Agreement’s fundamental purposes are to
         establish a contractual relationship between PJM and a nonincumbent transmission
         developer who is ineligible to sign the Consolidated Transmission Owners Agreement, to
         define the rights and responsibilities of PJM and the nonincumbent transmission
         developer, and to provide for a “level playing field” between incumbent transmission
         owners and nonincumbent transmission developers competing for the same project in a
         competitive window process.205 Designated Entity Agreements, PJM states, do not
         provide any additional consumer protections for projects assigned to an incumbent
         transmission owner, do not provide for any additional cost transparency, do not provide
         for additional PJM evaluation, and do not provide construction schedule assurances not




               201
                     See id. at 20-21 (citing in part Complaint at 3-4, Docket No. EL22-80-000).
               202
                     Id. at 21.
               203
                 Id. at 21-22 (citations omitted); PJM Answer to Complaint, Docket
         No. EL22-80-000, at 22.
               204
                    PJM Second Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 5; see
         also id. at 11-25.
               205
                     Id. at 13.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447            Filed: 12/26/2024     Page 55 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 49 -

         otherwise provided for by the Consolidated Transmission Owners Agreement or by PJM
         through its RTEP processes.206

                 According to PJM, Designated Entity Agreement-related security requirements
         were added to the Designated Entity Agreement for two reasons. First, PJM contends
         that they insure against the financial risk borne by an incumbent transmission owner who
         must assume construction and cost responsibility in the event that a nonincumbent
         transmission developer defaults on or abandons a designated project in the incumbent
         transmission owner’s zone, a situation that PJM says is not applicable to all RTEP
         projects.207 PJM further states that incumbent transmission owners are contractually
         obligated to build reliability projects, and are legally obligated to provide safe and
         reliable electric service to customers, meaning that incumbent transmission owners are
         prohibited by contract and law from abandoning RTEP projects. Thus, according to PJM,
         imposing security requirements on incumbent transmission owners, who are unable to
         abandon a project, increases that project’s cost without any cognizable benefit.208

                Second, in the event that the nonincumbent transmission developer defaults on its
         obligations under its Designated Entity Agreement, PJM contends that security protects
         customers by ensuring that the incremental costs of construction resulting from the

               206
                    PJM Answer to Complaint, Docket No. EL22-80-000, at 25-26; PJM Second
         Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 14; see also PJM Answer to
         Complaint, Docket No. EL22-80-000, at 25-26; PJM Second Answer, Docket
         Nos. EL22-80-000 and EL22-85-000, at 18-20 (asserting that cost transparency and
         project updates are provided for all RTEP projects though PJM’s Transmission
         Expansion Advisory Committee process, not through Designated Entity Agreements);
         PJM Second Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 21-22 (asserting
         that PJM re-evaluates all RTEP projects as part of its regional transmission planning
         processes). PJM also argues that cost containment protections are included in Designated
         Entity Agreements only where voluntarily proposed by the Designated Entity and argues
         that Joint Protestors overstate the importance of project construction and in-service
         milestones, which can be (and have been) extended for various valid reasons. See id.
         at 20-21, 22-25.
               207
                  PJM Answer to Complaint, Docket No. EL22-80-000, at 23-24; PJM Second
         Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 14-15.
               208
                   PJM Answer to Complaint, Docket No. EL22-80-000, at 24-25; PJM Second
         Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 15-16; see also PJM Second
         Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 16 n.69 (stating that to date,
         including the years before the existence of the pro forma Designated Entity Agreement,
         no incumbent transmission owner has abandoned or defaulted on a project under the
         Consolidated Transmission Owners Agreement).
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447         Filed: 12/26/2024      Page 56 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 50 -

         project’s reassignment to the incumbent transmission owner are covered by the
         nonincumbent transmission developer rather than by customers.209 PJM argues that
         Designated Entity Agreement-related security requirements do not serve this purpose for
         projects that have been designated to an incumbent transmission owner, as is the case for
         PJM-chosen unsponsored projects under Schedule 6, sections 1.5.8 (g), (h), (l), and
         (m)(1), because the incumbent transmission owner is obligated to construct the project
         under the Consolidated Transmission Owners Agreement.210 Thus, according to PJM,
         there is no default protection required for unsponsored projects under sections 1.5.8(g),
         (h), (l), and (m)(1).211

                 PJM recognizes that Designated Entity Agreement-related security requirements
         apply to both incumbent transmission owners and nonincumbent transmission developers
         for transmission projects chosen through the competitive proposal window and selected
         in the regional transmission plan for purposes of cost allocation to ensure that, in the
         competitive context, “similarly situated transmission developers, whether incumbent
         transmission owners or nonincumbent developers, will be processed in a not unduly
         discriminatory manner consistent with Order No. 1000.”212 For these projects, PJM
         estimates that the range of total costs associated with maintaining letters of credit would
         be between $330,000 and $870,000.213

                PJM contends, however, that total letter of credit maintenance costs would be
         significantly more if other types of RTEP projects are also subject to Designated Entity

                  209
                 PJM 206 Filing at 21-23 (citations omitted); PJM Answer to Complaint, Docket
         No. EL22-80-000, at 25.
                  210
                        PJM 206 Filing at 21-23; PJM Answer to Complaint, Docket No. EL22-80-000,
         at 25.
                  211
                        PJM 206 Filing at 22-23; PJM Answer to Complaint, Docket No. EL22-80-000,
         at 25.
                  212
                   PJM Second Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 16
         (citing 2018 DEA Order, 164 FERC ¶ 61,021 at P 30); see also PJM Answer to
         Complaint, Docket No. EL22-80-000, at 24 (citing 2018 DEA Order, 164 FERC ¶ 61,021
         at PP 28, 33 & n.61; 2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at P 12 n.23).
                  213
                    PJM Second Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 17. The
         estimates are based on the January 2022 London Interbank Offered Rate (LIBOR) using
         an annual interest rate of 2.2%. PJM states that the letter of credit is required from the
         date the executed Designated Entity Agreement is returned to PJM until several months
         after an RTEP project is placed into service, which generally spans a timeframe of three
         to eight years. Id. n.72.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447            Filed: 12/26/2024     Page 57 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 51 -

         Agreement-related security requirements. Specifically, PJM estimates that the range of
         total costs would increase to between $4.28 million and $11.42 million if Designated
         Entity Agreement-related security requirements apply to all RTEP projects chosen
         through a competitive proposal window but that are not selected in the regional
         transmission plan for purposes of cost allocation, and that total costs would increase
         further to between $64.12 million and $170.99 million in total if such requirements apply
         to all RTEP projects.214

                ITOs contend that requiring PJM to issue, negotiate, and administer hundreds of
         Designated Entity Agreements would increase costs for customers and impose additional
         burden and expense on PJM and transmission owners with no demonstrable benefit.215
         The additional costs of providing security, ITOs argue, are not justified, particularly
         because no incumbent transmission owner in PJM has ever defaulted on its obligation to
         construct an RTEP project.216 ITOs claim that without a credible showing of harm to
         consumers from PJM’s historical practices or an explanation of how Designated Entity




               214
                    See PJM Second Answer, Docket Nos. EL22-80-000 and EL22-85-000,
         at 16-17. PJM alleges that, given current interest rates, consumer costs would be much
         higher now as the annual LIBOR rate is more than double January’s rate, at around 4.8%.
         Id. at 17 n.71.
               215
                   ITOs Comments on Complaint, Docket No. EL22-80-000, at 3, 5, 18-20; ITOs
         Comments on PJM 206 Filing at 16-17 (highlighting the pro forma Designated Entity
         Agreement’s security, milestone, insurance, and assignment requirements, among other
         obligations, and citing PJM’s additional cost estimates); Data Center Coalition
         Comments on PJM 206 Filing, Docket No. EL22-85-000, at 3 (appreciating PJM’s
         concerns that broadly applying Designated Entity Agreement requirements could be
         administratively burdensome and may not provide commensurate value).
               216
                    ITOs Comments on Complaint, Docket No. EL22-80-000, at 19-20; ITOs
         Comments on PJM 206 Filing at 17. ITOs also contend that increasing development
         costs for RTEP projects designated to incumbent transmission owners outside of
         competitive solicitation processes or for RTEP projects whose costs are not regionally
         allocated would be particularly unwarranted because the Consolidated Transmission
         Owners Agreement’s obligation to build requirements apply to such projects. See ITOs
         Comments on Complaint, Docket No. EL22-80-000, at 22 n.61 (citing in part PJM, Rate
         Schedules, TOA Rate Schedule 42, TOA 42 Article 4 Section 4.2 (Option to Build)
         (0.0.0)).
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024      Page 58 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 52 -

         Agreements provide increased cost transparency, the notion that Designated Entity
         Agreement requirements provide important protections for consumers is illusory.217

                                      ii.   Arguments Supporting Designated Entity
                                            Agreement-related Security Requirements for
                                            PJM-chosen Unsponsored Projects

                 Complainants contend that Designated Entity Agreement requirements provide
         important consumer protections and are advisable as a matter of policy. Specifically,
         Complainants highlight that Designated Entity Agreements require transmission
         developers to provide and adhere to project development milestones, delineate events that
         can lead to breach of the agreement, and impose security requirements on a Designated
         Entity.218 Complainants also contend that if Designated Entity Agreements are used for
         Immediate-need Reliability Projects, PJM would need to reevaluate whether a different
         project is needed if an Immediate-need Reliability Project’s anticipated in service date is
         after the projected need by date.219 Lastly, Complainants contend that Designated Entity
         Agreements provide cost transparency.220

                OPSI contends that Commission precedent recognizes that Designated Entity
         Agreements have consumer benefits.221 OPSI argues that allowing PJM to depart from
         the Operating Agreement provisions would harm consumers by forgoing an important
         tool that preserves reliability, reduces operational risk, and controls costs.222 Finally,

                217
                    ITOs Comments on Complaint, Docket No. EL22-80-000, at 20-22. ITOs
         further assert that Complainants misunderstand PJM’s project reevaluation processes.
         See id. at 21-22.
                218
                  Complaint at 20; see also id. at 10-12 (discussing relevant provisions of PJM’s
         pro forma Designated Entity Agreement).
                219
                    See Complaint at 20; see also PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5
         (28.0.0), § 1.5.8(k) (Failure of Designated Entity to Meet Milestones).
                220
                      Complaint at 20-21.
                221
                    See OPSI Comments on Complaint, Docket No. EL22-80-000, at 4 (citing Pa.
         Water and Power Co. v. FPC, 343 U.S. 414, 418 (1952); New England Power
         Generators Ass’n v. ISO New England Inc., 146 FERC ¶ 61,038 at P 26 & n.33 (2014);
         Atl. Refin. Co. v. Pub. Serv. Comm’n, 360 U.S. 378, 388-89 (1959); FPC v. Hope Nat.
         Gas Co., 320 U.S. 591, 610-12 (1944); Mun. Light Bds. of Reading & Wakefield, Mass. v.
         FPC, 450 F.2d 1341, 1348 (D.C. Cir. 1971)).
                222
                      See OPSI Comments on Complaint, Docket No. EL22-80-000, at 5.
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361              Document #2091447         Filed: 12/26/2024     Page 59 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 53 -

         OPSI questions whether such a result would raise questions of misalignment with Order
         No. 2000’s principles, which include fostering light-handed regulations.223

                Data Center Coalition argues that increased measures for transmission cost
         transparency and cost containment are necessary to protect customers from excessive
         transmission costs and to ensure that transmission rates are just and reasonable.224 Data
         Center Coalition states that many of its members have located data centers in
         Northern Virginia, where PJM has identified thousands of megawatts of additional future
         load growth and proposed several Immediate-need Reliability Projects currently
         estimated to cost over $800 million.225 Data Center Coalition argues that requiring
         Designated Entity Agreements for such projects would be an important step toward
         improving transmission cost transparency and cost containment in PJM.226 Data Center
         Coalition further argues that the Commission has already found that the Consolidated
         Transmission Owners Agreement does not provide comparable protections,227 though
         Data Center Coalition recognizes that Designated Entity Agreements do not always
         provide explicit cost containment terms.228 Finally, because of the potential for
         competition between incumbent transmission owners and nonincumbent transmission
         developers, Data Center Coalition also disputes that imposing security requirements on



                    223
                   See id. at 4 (citing Reg’l Transmission Orgs., Order No. 2000, FERC Stats. &
         Regs. ¶ 31,089 at 31,027-28 (1999) (cross-referenced at 89 FERC ¶ 61,285) (discussing
         “the concept of light-handed regulation” and related issues), order on reh’g, Order
         No. 2000-A, FERC Stats. & Regs. ¶ 31,092, at 31,392 (2000) (cross-referenced at
         90 FERC ¶ 61,201) (addressing those issues on rehearing), aff’d sub nom. Pub. Util. Dist.
         No. 1 of Snohomish Cnty. v. FERC, 272 F.3d 607 (D.C. Cir. 2001).
                    224
                          Data Center Coalition Comments on Complaint, Docket No. EL22-80-000
         at 1, 3.
                    225
                   Id. at 2, 4-5. Data Center Coalition further contends that while investment of
         this magnitude may be necessary to ensure reliable service, it also highlights the critical
         need for cost transparency and cost containment. Id. at 5.
                    226
                 Id. at 2, 5; see also Data Center Coalition Comments on PJM 206 Filing,
         Docket No. EL22-85-000, at 2, 6.
                    227
                     Data Center Coalition Comments on Complaint, Docket No. EL22-80-000,
         at 3-4 (citing 2018 DEA Order, 164 FERC ¶ 61,021 at P 33).
                    228
                 See Data Center Coalition Comments on PJM 206 Filing, Docket
         No. EL22-85-000, at 2.
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361            Document #2091447             Filed: 12/26/2024   Page 60 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 54 -

         all Immediate-need Reliability Project developers would lead to unjust or unreasonable
         results.229

                 Joint Protestors contend that Designated Entity Agreement-related security
         requirements provide long-term benefits for consumers, which is contrary to PJM’s claim
         that Designated Entity Agreements exist solely for the benefit of certain incumbent
         transmission owners. Thus, Joint Protestors argue that Designated Entity Agreements
         should be universally enforced.230 Joint Protestors contend that PJM fails to
         acknowledge the benefits provided by requiring incumbent transmission owners to post
         security, given Commission precedent finding that incumbent transmission owners may
         fail to construct projects by projected in-service dates or otherwise default on project
         construction commitments.231 In addition to cost transparency and project reevaluation
         benefits, Joint Protestors argue that Designated Entity Agreements go above and beyond
         the Consolidated Transmission Owners Agreement’s requirements by requiring
         Designated Entities to achieve project milestones by specified dates, where failure to
         meet such deadlines can be considered a breach of contract.232

                Joint Protestors also assert that PJM’s proposed replacement rate is unsupported
         and should not be adopted,233 in part because it does not require Designated Entity
         Agreements for most RTEP projects, which would forgo the consumer protections that
         Designated Entity Agreements provide.234 Joint Protestors assert that PJM provides no
         basis for its proposed distinction between Immediate-need Reliability Projects chosen
         through competitive proposal windows and those that are not, and thus PJM has provided
         no historical evidence or factual showing of need to support its proposal to amend
         Schedule 6, section 1.5.8(m)(1).235 Joint Protestors contend that adopting PJM’s
         replacement rate would unjustifiably decrease accountability and competition, and would



               229
                     Id. at 6-7 (citing PJM 206 Filing at 21-23).
               230
                     Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 7-8.
               231
                     See id. at 8-9 (quoting 2018 DEA Order, 164 FERC ¶ 61,021 at P 41).
               232
                    See Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 9-10, 18-19;
         see also id. at 16-17 (citing 2018 DEA Order, 164 FERC ¶ 61,021 at PP 18-26).
               233
                     Id. at 2, 18, 20-21.
               234
                     Id. at 17, 19, 22.
               235
                     Id. at 18.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024     Page 61 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 55 -

         shift responsibility for regional transmission planning away from PJM onto incumbent
         transmission owners.236

                                     iii.   Commission Determination

                We find that imposing Designated Entity Agreement-related security requirements
         on the Designated Entity for a PJM-chosen unsponsored project is unjust and
         unreasonable because it is not required to ensure comparability between incumbent
         transmission owners and nonincumbent transmission developers nor to insure against the
         incremental costs of reassigning a transmission project designated to a nonincumbent
         transmission developer and, therefore, it increases costs to customers without providing
         commensurate benefits. Similarly, we find that imposing Designated Entity
         Agreement-related security requirements on incumbent-proposal only projects is unjust
         and unreasonable for the same reasons. Accordingly, we direct PJM to submit a
         compliance filing to remove Designated Entity Agreement-related security requirements
         from its governing documents for Designated Entities for PJM-chosen unsponsored
         projects and incumbent-proposal only projects.

                Commission precedent and PJM’s governing documents articulate two principal
         rationales that support imposing Designated Entity Agreement-related security
         requirements. As detailed below, neither rationale applies to either PJM-chosen
         unsponsored projects or incumbent-proposal only projects. Because neither rationale
         supports the need to impose a security requirement on incumbent transmission owners for
         PJM-chosen unsponsored projects or incumbent-proposal only projects, these
         requirements serve only to raise the cost of construction of transmission facilities for
         customers.

                The first rationale is comparability. In the 2018 DEA Order, the Commission
         emphasized the importance of a level playing field between similarly-situated
         nonincumbent transmission developers and incumbent transmission owners any time
         those entities compete for the same project opportunities.237 In particular, the
         Commission explained that pro forma development agreements are just and reasonable

                236
                      Id. at 21.
                237
                    See 2018 DEA Order, 164 FERC ¶ 61,021 at PP 29-35; 2019 DEA Rehearing
         Order, 168 FERC ¶ 61,121 at P 19. In particular, the Commission stated that, “the
         relevant inquiry in determining whether the two categories of transmission developer
         were similarly situated is whether [the public utility transmission provider] will evaluate
         the proposed transmission projects of these entities using the same criteria for the purpose
         of identifying the more efficient or cost-effective solution and thus for selection in the
         regional transmission plan for purposes of cost allocation.” 2018 DEA Order, 164 FERC
         ¶ 61,021 at P 31 (citing NYISO 2018 Order, 162 FERC ¶ 61,124 at P 11).
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447            Filed: 12/26/2024     Page 62 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 56 -

         and not unduly discriminatory or preferential under two circumstances.238 The first
         circumstance is when both the incumbent transmission owners and the nonincumbent
         transmission developers are subject to the pro forma development agreement.239 The
         second circumstance is when, if incumbent transmission owners are not subject to the
         pro forma development agreement, the public utility transmission provider has
         demonstrated that the terms and conditions of the pro forma development agreement are
         comparable to the terms and conditions of the applicable Regional Transmission
         Organization or Independent System Operator governing documents and agreements with
         which incumbent transmission owners must comply.240

                 As the Commission reiterated in the 2019 DEA Rehearing Order, “when
         transmission developers, here both incumbent transmission owners and nonincumbent
         transmission developers, are competing for the same opportunity subject to the same set
         of criteria, those developers should be subject to comparable rules for the entirety of that
         competitive process.”241 Therefore, in reviewing Designated Entity Agreement
         requirements, the Commission “considers whether the terms of any agreement could
         result in undue discrimination both in seeking selection in the regional transmission plan
         for purposes of cost allocation and remaining selected.”242

               As applied to Designated Entity Agreement-related security requirements,
         comparability requires that, when nonincumbent transmission developers and incumbent
         transmission owners compete for the same opportunity in a competitive proposal
         window, they should not face meaningfully different financial security expectations.243

                238
                      2018 DEA Order, 164 FERC ¶ 61,021 at P 28.
                239
                   Id. (citing New York Indep. Sys. Operator, Inc., 151 FERC ¶ 61,040 (2015)
         (Third NYISO Compliance Order requiring a filing of the pro forma development
         agreement); Cal. Indep. Sys. Operator Corp., Docket No. ER14-2824-001 (Feb. 12,
         2015) (delegated letter order); Cal. Indep. Sys. Operator Corp., 149 FERC ¶ 61,107
         (2014); PJM First Compliance Order, 142 FERC ¶ 61,214 at P 280; PJM Designated
         Entity Agreement Order, 148 FERC ¶ 61,187 at PP 46-47; Midcontinent Indep. Sys.
         Operator, Inc., 153 FERC ¶ 61,168, at PP 85,100 (2015)).
                240
                  2018 DEA Order, 164 FERC ¶ 61,021 at P 28 (citing ISO New England Inc.,
         150 FERC ¶ 61,209, order on reh’g and compliance, 153 FERC ¶ 61,012, at 20-29
         (2015)).
                241
                      2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at P 19 (emphasis added).
                242
                      Id. (quotation marks and citation omitted) (emphasis added).
                243
                  See 2018 DEA Order, 164 FERC ¶ 61,021 at P 39 (rejecting PJM’s proposal to
         exempt incumbent transmission owners from the requirement to execute Designated
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447          Filed: 12/26/2024     Page 63 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 57 -

         If, for example, only nonincumbent transmission developers or only incumbent
         transmission owners (or some other particular subset of similarly-situated transmission
         developers) were exempt from Designated Entity Agreement-related security
         requirements, the exempted entities “could reflect the cost savings associated with not
         having a security requirement in [their] proposal[s]” to PJM, thereby disadvantaging the
         non-exempted entities in head-to-head competition.244 This is because the anticipated
         costs of meeting Designated Entity Agreement-related security requirements are
         necessarily reflected in the costs of proposed projects.245

                The second rationale supporting PJM imposing Designated Entity
         Agreement-related security requirements relates to the stated purpose of those security
         requirements in Schedule 6 of the Operating Agreement. Specifically, Schedule 6,
         section 1.5.8(j) explains that the purpose of the security requirement is “to cover the
         incremental costs of construction resulting from reassignment of the project.”246
         Reassignment may occur when a Designated Entity defaults on its obligations under the
         Designated Entity Agreement, including by not meeting required project development
         milestones or by abandoning the project.247 PJM explains that, where projects designated

         Entity Agreements because, among other reasons, “the Consolidated Transmission
         Owners Agreement is less stringent than the Designated Entity Agreement with respect to
         the issue of financial security and such difference could disadvantage a nonincumbent
         transmission developer when competing for transmission projects.”); see also Sw. Power
         Pool, Inc., 144 FERC ¶ 61,059, at P 245 (2013) (“We conclude that it is unduly
         discriminatory to require a demonstration of financial strength from nonincumbent
         transmission developers as part of the Transmission Owner Selection Process without
         requiring a similar showing on the part of an incumbent transmission owner.”).
                244
                      See 2018 DEA Order, 164 FERC ¶ 61,021 at P 39.
                245
                 See PJM 206 Filing at 22 & n.66 (quoting 2019 DEA Rehearing Order,
         168 FERC ¶ 61,121 at P 22).
                246
                    PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j)
         (Acceptance of Designation); see also First PJM Compliance Order, 142 FERC ¶ 61,214
         at P 271 (summarizing comment explaining that a requirement to post security may
         provide a degree of certainty that costs related to reassignment can be recovered if a
         project is abandoned or there is a material default); PJM, Third Compliance Filing,
         Docket No. ER13-198-004, at 12-13 (PJM offering this same interpretation of
         Schedule 6, section 1.5.8(j) and explaining that section 3.0 of the proposed pro forma
         Designated Entity Agreement implements the requirement in section 1.5.8(j)).
                247
                      See 2018 DEA Order, 164 FERC ¶ 61,021 at PP 9-10, 48-49; PJM 206 Filing
         at 22-23.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447          Filed: 12/26/2024     Page 64 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 58 -

         to a Designated Entity must be reassigned, the security provided by the Designated Entity
         can be accessed and put towards the incremental costs that result when a different
         transmission developer must assume responsibility and continue developing the
         project.248

                 But importantly, under Schedule 6, section 1.5.8(k), project reassignment is a
         binary choice—PJM may either “retain the Designated Entity” to continue developing the
         project, or it may “designate the Transmission Owner(s) in the Zone(s) where the project
         is located as Designated Entity(ies).”249 When the defaulting Designated Entity is an
         incumbent transmission owner, however, Schedule 6 does not allow PJM to reassign the
         project. Instead, section 1.5.8(k) states that PJM “shall seek recourse through the
         Consolidated Transmission Owners Agreement or FERC, as appropriate.”250 This
         distinction means that, under the Operating Agreement, a project may only be reassigned
         to an incumbent transmission owner, and not away from an incumbent transmission
         owner.251 Thus, where the Designated Entity is the incumbent transmission owner,
         including for PJM-chosen unsponsored projects and incumbent-proposal only projects,
         there is no reasonable risk of reassignment to another entity.252

                As applied to the facts here, neither principal rationale supports imposing
         Designated Entity Agreement-related security requirements on PJM-chosen unsponsored
         projects. First, with respect to comparability, PJM-chosen unsponsored projects are not
         subject to competitive proposal windows.253 Instead, for PJM-chosen unsponsored

               248
                     See PJM 206 Filing at 22-23.
               249
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(k) (Failure of
         Designated Entity to Meet Milestones).
               250
                  PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(k) (Failure of
         Designated Entity to Meet Milestones).
               251
                   PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.7 (3.0.0), § 1.7 (Obligation to
         Build); PJM, Rate Schedules, TOA Rate Schedule 42, TOA 42 Article 4 Section 4.2
         (Obligation to Build) (0.0.0). Relatedly, PJM and ITOs state that no RTEP project has
         ever been reassigned away from an incumbent transmission owner. See PJM Second
         Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 16 n.69; see also ITOs
         Comments on Complaint EL22-80 at 19-20 (explaining that no incumbent transmission
         owner has ever defaulted on its obligation to construct an RTEP project); ITOs
         Comments on PJM 206 Filing, Docket No. EL22-85-000, at 17 (same).
               252
                     See PJM 206 Filing at 20-23.
               253
                     See supra at P 7.
Document Accession #: 20240725-3020             Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447            Filed: 12/26/2024     Page 65 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 59 -

         projects, PJM itself identifies the more efficient or cost-effective transmission project to
         resolve an identified transmission need and selects that transmission project in the
         regional transmission plan for purposes of cost allocation. In these cases, PJM is required
         to designate the incumbent transmission owner as the entity to construct, own, operate,
         maintain, and finance the transmission project.254 As a result, for PJM-chosen
         unsponsored projects, incumbent transmission owners and nonincumbent transmission
         developers do not “compet[e] for the same opportunity subject to the same set of
         criteria,” and thus are not similarly-situated for purposes of that project, which, again, is
         designated outside of a competitive proposal window.255

                  Second, with respect to reassignment, a PJM-chosen unsponsored project, which
         must be designated to the relevant incumbent transmission owner, will not be reassigned
         away from that designated incumbent transmission owner absent extenuating
         circumstances, which are very unlikely. As noted above, if an incumbent transmission
         owner that is the Designated Entity for a project defaults on its obligations, PJM is to
         “seek recourse through the Consolidated Transmission Owners Agreement or FERC, as
         appropriate,” rather than reassign the project to another entity.256 Thus, there is very
         little, if any, potential to incur incremental costs resulting from reassignment for
         PJM-chosen unsponsored projects given that the Operating Agreement does not provide
         for reassignment. In turn, we find that it is unjust and unreasonable to require security,
         ultimately at customer expense, to insure against potential costs that will rarely, if ever,
         materialize.

                We also find that neither rationale applies to incumbent-proposal only
         projects—projects for which an incumbent transmission owner is the only entity to
         submit a proposal or proposals to PJM in a competitive proposal window. First, with
         respect to comparability, the Commission has emphasized that what matters most is a
         level playing field between incumbent transmission owners and nonincumbent
         transmission developers when those entities compete for the same opportunity subject to
         the same set of criteria.257 Thus, at the outset of each competitive proposal window,

                254
                      See id.
                255
                  2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at PP 18-19; see 2018 DEA
         Order, 164 FERC ¶ 61,021 at PP 30-32.
                256
                      See PJM, Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(k).
                257
                   2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at PP 18-19 (explaining that
         “when transmission developers, here both incumbent and nonincumbent transmission
         developers, are competing for the same opportunity subject to the same set of criteria,
         those developers should be subject to comparable rules for the entirety of that
         competitive process.”).
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447            Filed: 12/26/2024     Page 66 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                             - 60 -

         comparability requires that both incumbent transmission owners and nonincumbent
         transmission developers face the same expected Designated Entity Agreement-related
         security requirements, as those requirements affect the costs of proposals that those
         competing developers will submit. But if, in the end, an incumbent transmission owner is
         the only entity to submit a proposal to PJM during a competitive proposal window, and
         no nonincumbent transmission developer in fact competed for that opportunity, the
         situation is different. An incumbent transmission owner in that instance has not
         competed against any specific nonincumbent transmission developers for selection of its
         project by PJM in the RTEP—instead, PJM assessed a proposal or proposals sponsored
         by only one entity, the incumbent transmission owner. In this situation, therefore, a
         security requirement is no longer needed to ensure comparability and merely results in
         unnecessary costs. We find that no competitive advantage or disadvantage is gained or
         imposed at the time of proposal submission by the possibility that Designated Entity
         Agreement-related security requirements may later be relieved if it turns out that an
         incumbent transmission owner is the only entity to submit a proposal during a
         competitive proposal window.

                Second, with respect to reassignment, as the project has been designated to an
         incumbent transmission owner, we reiterate, as explained above, that there is no
         reasonable potential for PJM to reassign an incumbent-proposal only project to another
         entity. Thus, insuring against the costs of a potential reassignment does not justify
         imposing Designated Entity Agreement-related security requirements for
         incumbent-proposal only projects.

                Some commenters suggest that Designated Entity Agreement-related security
         requirements themselves provide benefits to consumers or offer some form of consumer
         protection.258 We disagree and do not find that providing security in every context
         necessarily serves customer interests. Rather, the reasons for providing security and its
         associated benefits are context-specific. As stated, when security provides comparability
         between competing transmission developers, or insures against the incremental costs of
         construction that could result from a project’s reassignment, we find that providing
         security ultimately serves customer interests. But when Designated Entity-related
         security requirements are applied to PJM-chosen unsponsored projects and
         incumbent-proposal only projects, those security requirements increase costs to
         customers without providing any commensurate benefit. No commenter has provided a
         persuasive argument to the contrary in this record.

                Accordingly, we find that PJM has satisfied its FPA section 206 burden to show
         that Designated Entity Agreement-related security requirements are unjust and
               258
                 E.g., Joint Protest, Docket Nos. EL22-80-00 and EL22-85-000, at 8-9 (quoting
         2018 DEA Order, 164 FERC ¶ 61,021 at P 41); OPSI Comments on Complaint in
         EL22-80-000 at 4.
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447            Filed: 12/26/2024     Page 67 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 61 -

         unreasonable when applied to PJM-chosen unsponsored projects. Because that situation
         in substance is not distinguishable from the incumbent-proposal only project situation
         (where an incumbent transmission owner is the only entity competing for a transmission
         development opportunity), we also find that Designated Entity Agreement-related
         security requirements are unjust and unreasonable when applied to incumbent-proposal
         only projects. In both situations, comparability concerns do not apply and there is no
         reasonable potential for reassignment to another Designated Entity. Thus, insisting on
         financial security in those situations lacks a reasonable basis, yet imposes costs on
         transmission developers that are ultimately borne by transmission customers. We find
         such an outcome unjust and unreasonable because it would require customers to pay for
         unnecessary costs.259

                In this order, however, we find that PJM has met its FPA section 206 burden only
         for Designated Entity Agreement-related security requirements as applied to PJM-chosen
         unsponsored projects or incumbent-proposal only projects.260 We disagree with PJM and
         ITOs that signing Designated Entity Agreements is so burdensome that it makes the
         requirement to execute one unjust, unreasonable, or unduly discriminatory or
         preferential.261 Instead, we find that these unsupported allegations of administrative
         burden are insufficient to satisfy PJM’s statutory burden under FPA section 206. The
         Commission has previously rejected the notion that mere “administrative burden,” or
         “administrative efficiency” justifies exempting incumbent transmission owners from
         having to execute a Designated Entity Agreement, if that exemption would be unduly
         discriminatory.262 And as other parties contend, there are likely transparency benefits or
         other benefits from the other Designated Entity Agreement requirements imposed by the
         Operating Agreement or Tariff,263 and so our finding here is limited to the existing


                259
                   Cf. Kinder Morgan Operating L.P. “A”, 101 FERC ¶ 61,017, at P 5 (2002)
         (explaining that the imposition of unnecessary costs, whether via tariff provision or cost
         of service element in a rate proceeding, is unjust and unreasonable).
                260
                    See PJM 206 Filing at 21-22 (identifying Designated Entity Agreement-related
         security requirements as the cause of “increase[d] consumer costs without sufficient
         offsetting benefit”).
                261
                  PJM Answer to Complaint, Docket No. EL22-80-000, at 23-24; PJM Second
         Answer, Docket Nos. EL22-80-000 and EL22-85-000, at 12 n.54; ITOs Comments on
         PJM 206 Filing at 17.
                262
                      See 2018 DEA Order, 164 FERC ¶ 61,021 at PP 24, 34.
                263
                 See, e.g., Joint Protest in EL22-85-000 at 10, 16, 18-19; OPSI Comments on
         Complaint at 4-5; see also 2018 DEA Order, 164 FERC ¶ 61,021 at P 41.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361          Document #2091447             Filed: 12/26/2024      Page 68 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                 - 62 -

         Designated Entity Agreement-related security requirements for PJM-chosen unsponsored
         projects and incumbent-proposal only projects.

                Moreover, except for PJM-chosen unsponsored projects and incumbent-proposal
         only projects, we find that the reassignment and comparability rationales justify imposing
         Designated Entity Agreement requirements, including Designated Entity
         Agreement-related security requirements, on the Designated Entity for the projects where
         the Operating Agreement requires a Designated Entity.264 Specifically, security is needed
         from nonincumbent transmission developers to insure against the potential costs of
         reassigning a project, and that need for security from nonincumbent transmission
         developers gives rise to the need to collect security from incumbent transmission owners
         for comparability reasons when they compete with nonincumbent transmission
         developers. PJM notes that, under Schedule 6, section 1.5.8(l), it must designate certain
         transmission projects located solely within a transmission owner’s zone whose costs are
         allocated solely to that zone to the incumbent transmission owner, even if that
         transmission solution was proposed by a nonincumbent transmission developer during a
         competitive proposal window.265 PJM argues that these transmission projects are outside


                264
                   We recognize PJM’s concerns regarding the potential for “increase[d]
         consumer costs.” See supra note 261. However, we note that the record in this
         proceeding supports relieving incumbent transmission owners, when they are required to
         execute Designated Entity Agreements, from having to provide Designated Entity
         Agreement-related security only for PJM-chosen unsponsored projects and
         incumbent-proposal only projects. Beyond those projects, comparability requires that
         incumbent transmission owners provide Designated Entity Agreement-related security to
         ensure a level playing field when competing with nonincumbent transmission developers.
         See 2018 DEA Order, 164 FERC ¶ 61,021 at P 39. However, nothing in this record
         speaks to whether PJM could address its concerns about increased consumer costs, while
         maintaining comparability, by proposing changes to the Designated Entity
         Agreement-related security requirements in another proceeding.
                265
                    See PJM 206 Filing at 11 n.31; PJM Second Answer, Docket
         Nos. EL22-80-000 and EL22-85-000, at 15-16; see also PJM, Intra-PJM Tariffs, OA,
         Schedule 6, § 1.5.8(l) (Transmission Owners Required to be the Designated Entity)
         (28.0.0) (“[T]he Transmission Owner(s) in whose Zone(s) a project proposed pursuant to
         the Operating Agreement, . . . is to be located will be the Designated Entity for the
         project, when the Short-term Project or Long-lead Project is: . . . (ii) located solely within
         a Transmission Owner’s Zone and the costs of the project are allocated solely to the
         Transmission Owner’s Zone.”). PJM has not been requiring the incumbent transmission
         owners in this circumstance to execute Designated Entity Agreements. See PJM 206
         Filing at 30.
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024      Page 69 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 63 -

         of the scope of Order No. 1000’s reforms.266 While we acknowledge that Order No. 1000
         did not require the nonincumbent transmission developer reforms to apply to
         transmission facilities whose costs are allocated entirely to the incumbent transmission
         owner’s zone, we find that under PJM’s currently-effective Operating Agreement, which
         PJM proposed and the Commission accepted as consistent with or superior to Order
         No. 1000’s requirements, when PJM opens a competitive proposal window, PJM does
         not know which of the proposals that it receives will be identified as the more efficient or
         cost-effective solution to the transmission need. It is only after the competitive proposal
         window has closed and after PJM has analyzed the submitted transmission projects and
         identified the more efficient or cost-effective transmission solution that PJM determines
         the project’s cost allocation.267 We therefore find that PJM failed to show that it is unjust
         and unreasonable to require the incumbent transmission owner to sign a Designated
         Entity Agreement and provide security in this circumstance because the incumbent
         transmission owner and at least one nonincumbent transmission developer competed
         during the competitive proposal window before PJM determined the cost allocation for
         the project, and the same requirements must apply to all transmission developers to
         ensure comparability.

                We, therefore, find under FPA section 206 that the appropriate just and reasonable
         replacement rate will be achieved by directing PJM to amend the Operating Agreement to
         include provisions stating that no security requirement will be imposed on incumbent
         transmission owners where they have been designated as Designated Entities for
         PJM-chosen unsponsored projects or incumbent-proposal only projects. Such provisions
         shall be effective the day after the date of this order.268 PJM is required to submit a
         compliance filing within 30 days of the date of issuance of this order revising Schedule 6
         of the Operating Agreement (and, if necessary, the pro forma Designated Entity
         Agreement in the Tariff) to include such provisions.

                                     iv.    Refund Effective Date

             Section 206(b) of the FPA provides that upon the filing of a complaint, the
         Commission must establish a refund effective date that is no earlier than the date of the

                266
                   See PJM Answer to Complaint in EL22-80-00, at 9 (reiterating contention that
         the scope of Order No. 1000 is limited to transmission projects that are selected through
         PJM’s competitive window process and included in the RTEP for purposes of cost
         allocation).
                267
                    See PJM Interconnection, L.L.C., Intra-PJM Tariffs, OA, Schedule 6 Sec 1.5
         (28.0.0), § 1.5.8(a)-(e); see also id. § 1.5.8(m)(2).
                268
                    See, e.g., PJM Interconnection, L.L.C., 180 FERC ¶ 61,120, at P 16 (2022)
         (setting effective date for mandated tariff revisions as of the date of the order).
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361           Document #2091447          Filed: 12/26/2024     Page 70 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                              - 64 -

         complaint and no later than five months subsequent to the date of the complaint. In such
         cases, in order to give maximum protection to customers, and consistent with
         Commission precedent, the Commission has historically tended to establish the
         section 206 refund effective date at the earliest date allowed by FPA section 206, and we
         do so here as well.269 That date is the date on which PJM made the PJM 206 Filing,
         which was August 26, 2022.

                 We decline, however, to order refunds pursuant to FPA section 206.270 Our
         finding on the PJM 206 Filing relates to the requirement to provide Designated Entity
         Agreement-related security for PJM-chosen unsponsored projects and
         incumbent-proposal only projects. Although PJM holds cash security or requires a letter
         of credit for the duration of a Designated Entity Agreement, absent default, Designated
         Entities do not permanently transfer security to PJM. Once a project enters service, PJM
         returns any cash security and the obligation to provide a letter of credit ends. Moreover,
         there is nothing in the record that addresses what would be refunded, or how PJM would
         calculate those amounts.

                         3.     Compliance and Remedial Issues

              We now turn to arguments addressing the appropriate remedial actions that the
         Commission should take. As noted above, we find that PJM has violated the Operating
         Agreement (i.e., the relevant rate on file) because PJM did not execute Designated Entity
         Agreements in all situations required by the Operating Agreement.

                                a.     Pleadings and Comments Summary

                Complainants request that the Commission immediately direct PJM to comply
         with the Operating Agreement’s requirement that Designated Entities, whether incumbent
         transmission owners or nonincumbent transmission developers, must execute a
         Designated Entity Agreement.271 Specifically, Complainants request that the
         Commission require that PJM: (1) execute Designated Entity Agreements for all
         previously approved RTEP projects that are under construction (i.e., for which facilities
         are not yet in service); and (2) execute Designated Entity Agreements for all applicable



                269
                 See, e.g., Idaho Power Co., 145 FERC ¶ 61,122 (2013); Canal Elec. Co.,
         46 FERC ¶ 61,153, order on reh’g, 47 FERC ¶ 61,275 (1989).
                270
                  See XO Energy MA, LP v. FERC, 77 F.4th 710, 716-717 (D.C. Cir. 2023); see
         also Towns of Concord v. FERC, 955 F.2d 67, 72-73 (D.C. Cir. 1992).
                271
                      Complaint at 3, 24.
Document Accession #: 20240725-3020               Filed Date: 07/25/2024
        USCA Case #24-1361                Document #2091447      Filed: 12/26/2024     Page 71 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 65 -

         RTEP projects going forward.272 As to the first category of projects, Complainants
         estimate that approximately 494 RTEP projects would be affected, as of the time of
         filing.273 According to Complainants, PJM has not retained millions of dollars in
         associated security for these in-progress RTEP projects.274

               LSP Transmission requests that the Commission grant the Complaint and require
         PJM to execute outstanding Designated Entity Agreements within 105 days of the
         Commission’s order, in line with the timeline set forth in Schedule 6, section 1.5.8(j) of
         the Operating Agreement.275

                In contrast, ITOs assert that accepting PJM’s 206 Filing and its proposed
         replacement rate would avoid further controversy that interferes with cost-effective RTEP
         implementation.276 But, if the Commission grants the Complaint, ITOs request that the
         Commission exercise its remedial discretion to apply Designated Entity Agreement
         requirements to all applicable RTEP projects only prospectively.277

                                 b.        Commission Determination

                 Since we have found that PJM failed to comply with its Operating Agreement, we
         must consider whether to require any remedial action of PJM.278 The record indicates
         that there may potentially be hundreds of instances of non-compliance, i.e.,
         circumstances in which the Operating Agreement required a Designated Entity
         Agreement but that PJM did not execute one, that may need to be addressed.

                First, because Designated Entity Agreements set forth rights and responsibilities
         during the period between a Designated Entity’s accepting its designation by the PJM
         Board and the date on which the related RTEP project enters service,279 we will not

                272
                      See id. at 3, 25.
                273
                      See id. at 3 & n.8.
                274
                      See id. at 23-24.
                275
                      LSP Transmission Comments, Docket No. EL22-80-000, at 5.
                276
                      ITOs Comments on PJM 206 Filing at 3, 11, 17-18.
                277
                      ITOs Comments on Complaint, Docket No. EL22-80-000, at 22-23.
                278
                   See Radford’s Run Wind Farm LLC v. PJM Interconnection, L.L.C., 171 FERC
         ¶ 61,025, at P 27 (2020); XO Energy MA, LP v. FERC, 77 F.4th 710 (D.C. Cir. 2023).
                279
                  See 2019 DEA Rehearing Order, 168 FERC ¶ 61,121 at P 6 (explaining that a
         “Designated Entity Agreement terminates once construction is complete and the
Document Accession #: 20240725-3020            Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447              Filed: 12/26/2024     Page 72 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                                - 66 -

         require PJM to execute a Designated Entity Agreement for any RTEP project that has
         already entered into service as of the date of this order, whether or not that project should
         have been subject to a Designated Entity Agreement during project development (past
         RTEP projects). For these past RTEP projects, any Designated Entity Agreement would
         have already expired. Thus, we find that requiring PJM to execute an agreement with the
         relevant parties now would provide little to no benefit.

                 Second, because we have found that imposing Designated Entity
         Agreement-related security requirements on PJM-chosen unsponsored projects and
         incumbent-proposal only projects is unjust and unreasonable, we see no reason to impose
         this requirement on Designated Entities for projects of either type that are currently in
         progress, but for which there is no executed Designated Entity Agreement.

                Third, aside from that limited determination as to Designated Entity
         Agreement-related security requirements, we find that the current record does not yet
         provide a basis on which to determine whether, and if so, how, to exercise our discretion
         with respect to projects that are currently in progress but for which there is no executed
         Designated Entity Agreement (in-progress RTEP projects). As noted, it is possible that
         PJM has not executed a Designated Entity Agreement for a substantial number of
         in-progress RTEP projects. But because executing Designated Entity Agreements now
         may impose costs and because these in-progress RTEP projects may be at various stages
         of development, we require additional information as to whether imposing any remedy
         for PJM’s Operating Agreement violations is warranted now.280




         Designated Entity has met all of the requirements in Section 2.1 of the Designated Entity
         Agreement, including, for a Designated Entity that is not already a Transmission Owner,
         execution of the Consolidated Transmission Owners Agreement”); see also PJM,
         Intra-PJM Tariffs, OA Schedule 6 Sec 1.5 (28.0.0), § 1.5.8(j) (Acceptance of
         Designation) (explaining that a “development schedule . . . shall include . . . milestones
         necessary to develop and construct the project to achieve the required in-service date”
         (emphasis added)).
                280
                    The parties take different positions on the requirements for in-progress RTEP
         Projects that the Commission should direct in this order. The Complaint requests that all
         in-progress RTEP project developers be required to execute Designated Entity
         Agreements immediately and reasons that PJM’s violations of the Operating Agreement
         are ongoing, while ITOs argue in the alternative that the Commission should use its
         remedial discretion to only apply additional Designated Entity Agreement requirements
         prospectively. Compare Complaint at 3, 25, with ITOs Comments on Complaint
         at 22-23. Absent more information on the scope of the Designated Entity Agreements
         that PJM may need to execute after the issuance of this order and potential administrative
Document Accession #: 20240725-3020           Filed Date: 07/25/2024
        USCA Case #24-1361         Document #2091447            Filed: 12/26/2024     Page 73 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 67 -

                 To fully consider these issues, we establish paper hearing procedures and pose the
         questions set forth in this order’s appendix. PJM is directed to respond to Question 1
         within 45 days of the date of this order. Then, all parties, including PJM, may submit
         initial comments that respond to the remaining questions and comment on PJM’s
         responses to Question 1 within 75 days of the date of this order.

         The Commission orders:

                 (A) The Complaint is hereby granted, in part, and denied, in part, as discussed
         in the body of this order.

                (B) The PJM 206 Filing is hereby granted, in part, and denied, in part, as
         discussed in the body of this order.

                 (C) PJM is hereby directed to submit a compliance filing within 30 days of the
         date of issuance of this order to remove the security requirements from PJM-chosen
         unsponsored projects and incumbent-proposal only projects, to become effective the day
         after the date of this order, as discussed in the body of this order.

                (D) Pursuant to the authority contained in and subject to the jurisdiction
         conferred on the Federal Energy Regulatory Commission by section 402(a) of the
         Department of Energy Organization Act and the FPA, particularly section 206 thereof,
         and pursuant to the Commission’s Rules of Practice and Procedure and the regulations
         under the FPA (18 C.F.R. Chapter I), the Commission is instituting paper hearing
         procedures to address which in-progress projects must comply with the Operating
         Agreement’s requirement to execute a Designated Entity Agreement, as discussed in the
         body of this order.




         burdens associated with their execution, the record here is insufficient to decide whether
         (and, if so, what) exemptions should be provided.
Document Accession #: 20240725-3020         Filed Date: 07/25/2024
        USCA Case #24-1361       Document #2091447            Filed: 12/26/2024    Page 74 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                          - 68 -

                (E)    The refund effective date in Docket No. EL22-85-000 shall be August 26,
         2022, the date of the PJM 206 Filing.

         By the Commission. Commissioner See is not participating.
                            Commissioner Chang is not participating.

         (SEAL)


                                                     Debbie-Anne A. Reese,
                                                       Acting Secretary.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361        Document #2091447            Filed: 12/26/2024     Page 75 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                               - 69 -

                                                   Appendix


         1.    For PJM response within 45 days: Please provide the following information
               regarding in-progress RTEP projects that are subject to Designated Entity
               Agreements based on the findings of this order:

               a.     The number of in-progress RTEP projects broken down by project type, by
                      RTEP annual cycle, or PJM Board approval date, and by stage of
                      development or development milestone.281

               b.     An explanation of the actions or steps required to execute Designated
                      Entity Agreements for each category or sub-type identified in response to
                      Question 1(a) above.

               c.     An estimate of the anticipated administrative costs and time required to
                      execute Designated Entity Agreements for all in-progress RTEP projects,
                      and for each category or sub-type identified in response to Question 1(a)
                      above.

               d.     An estimate of the number of non-conforming Designated Entity
                      Agreements that may be filed with the Commission for all in-progress
                      RTEP projects, for each category or sub-type identified in response to
                      Question 1(a) above.

               e.     An assessment of whether any changes to the pro forma Designated Entity
                      Agreement could lessen filing burdens for newly executed Designated
                      Entity Agreements for in-progress RTEP projects.

               f.     Any further information that may be useful in determining whether PJM
                      and the Designated Entities for the in-progress RTEP projects identified in
                      response to this Question should be required to execute Designated Entity
                      Agreements.

         2.    For all parties’ responses within 75 days: Please identify and explain your
               position and any relevant proposals or considerations relating to whether PJM and
               the Designated Entities for the in-progress RTEP projects identified in PJM’s
               response to Question 1 should be required to execute Designated Entity
               Agreements. In addition, please answer:


               281
                   PJM is encouraged to summarize this information in tabular or graphical form,
         as appropriate.
Document Accession #: 20240725-3020          Filed Date: 07/25/2024
        USCA Case #24-1361       Document #2091447             Filed: 12/26/2024      Page 76 of 80
         Docket Nos. EL22-80-000 and EL22-85-000                                              - 70 -

               a.    Whether, and if so, how, entities beyond the parties to Designated Entity
                     Agreements, such as transmission customers, stakeholders, and the public
                     would derive value from the Commission requiring that incumbent
                     transmission owners of in-progress RTEP projects sign Designated Entity
                     Agreements.

               b.    If the Commission were to require incumbent transmission owners to sign
                     Designated Entity Agreements for in-progress RTEP projects, whether
                     there would be any benefit, including to the transmission customers that
                     will ultimately pay such costs, in requiring that security be provided at this
                     point for in-progress RTEP projects.

               c.    Whether among in-progress RTEP projects there are reasonable distinctions
                     (e.g., by project type, approval date, progress towards completion, or
                     administrative cost and burden for agreement execution) between those that
                     should be required to have executed Designated Entity Agreements and
                     those that should not.

               d.    Why and how does your position strike an appropriate balance between the
                     benefits and the costs of executing Designated Entity Agreements for
                     in-progress RTEP projects?
Document Accession #: 20240725-3020   Filed Date: 07/25/2024
       USCA Case #24-1361  Document #2091447    Filed: 12/26/2024 Page 77 of 80
   Document Content(s)
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USCA Case #24-1361   Document #2091447    Filed: 12/26/2024   Page 78 of 80




                              EXHIBIT B
Document Accession #: 20240926-3008            Filed Date: 09/26/2024
        USCA Case #24-1361         Document #2091447             Filed: 12/26/2024      Page 79 of 80



                                        188 FERC ¶ 62,155
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         American Municipal Power, Inc., Office of the People’s       Docket Nos. EL22-80-001
         Counsel for the District of Columbia, and the PJM
         Industrial Customer Coalition

                       v.

         PJM Interconnection, L.L.C.;                                              EL22-85-001

         PJM Interconnection, L.L.C.

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                            (September 26, 2024)

                Rehearing has been timely requested of the Commission’s order issued on
         July 25, 2024, in this proceeding. American Municipal Power, Inc. v. PJM
         Interconnection, L.L.C., 188 FERC ¶ 61,055 (2024). In the absence of Commission
         action on a request for rehearing within 30 days from the date it is filed, the request for
         rehearing may be deemed to have been denied. 16 U.S.C. § 825l(a); 18 C.F.R. § 385.713
         (2024); Allegheny Def. Project v. FERC, 964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 16 U.S.C. § 825l(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Debbie-Anne A. Reese,
                                                          Acting Secretary.
Document Accession #: 20240926-3008   Filed Date: 09/26/2024
       USCA Case #24-1361  Document #2091447    Filed: 12/26/2024 Page 80 of 80
   Document Content(s)
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